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                             UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

                                                     :
 IN RE AUTOMOTIVE WIRE HARNESS                       :    Master File No. 12-md-02311
 SYSTEMS ANTITRUST LITIGATION                        :
                                                     :    CONSOLIDATED AMENDED CLASS
                                                     :    ACTION COMPLAINT
 THIS DOCUMENT RELATES TO:                           :
                                                     :
 END-PAYOR ACTIONS                                   :    JURY TRIAL DEMANDED
                                                     :


         Plaintiffs Rebecca Lynn Morrow; Erica Shoaf; Ifeoma Adams; Melissa Barron; John

 Hollingsworth; Meetesh Shah; Gary Arthur Herr; Michael Tracy; Jane Taylor; Jennifer Chase;

 Darrel Senior; AGA Realty LLC; James Marean; Ron Blau; Roger Olson; Susan Olson; Nilsa

 Mercado; Darcy Sherman; Curtis Gunnerson; David Bernstein; Ellis Winston McInnis; Thomas

 Wilson; Lauren C Primos; Robert Klingler; Jessica DeCastro; Lori Curtis; Virginia Pueringer;

 Nathan Croom; Richard Stoehr; Edward Muscara; Michael Wick; Ian Groves; Tenisha Burgos;

 Jason Grala; Peter Brook; Kathleen Tawney; Kelly Klosterman; Melinda Harr DDS PC; Cindy

 Prince; Paul Gustafson; Frances Gammell Roach; William Picotte; Phillip Young; Becky

 Bergeson; Jessee Powell; Alena Farrell; Jane FitzGerald; Arthur Stukey; Janne Rice; Robert

 Rice, Jr.; Stacey Nickell; Carol Ann Kashishian; and Susan LaCava (collectively, “Plaintiffs”),

 on behalf of themselves and all others similarly situated (the “Classes” as defined below), upon

 personal knowledge as to the facts pertaining to them and upon information and belief as to all

 other matters, and based on the investigation of counsel, bring this class action for damages,

 injunctive relief and other relief pursuant to federal antitrust laws and state antitrust, unfair

 competition, and consumer protection laws, Plaintiffs demand a trial by jury, and allege as

 follows:
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                                     NATURE OF ACTION

        1.      This lawsuit is brought as a proposed class action against Defendants, the largest

 suppliers of Automotive Wire Harness Systems (defined below) globally and in the United

 States, for engaging in a massive, decade-long conspiracy to unlawfully fix and artificially raise

 the prices of these products. Defendants’ conspiracy successfully targeted the long-struggling

 United States automotive industry, raising prices for car manufacturers and consumers alike.

        2.      Plaintiffs seek to represent consumers who purchased or leased new motor

 vehicles containing Automotive Wire Harness Systems or replacement Automotive Wire

 Harness Systems during the period from and including January 1, 2000 through such time as the

 anticompetitive effects of Defendants’ conduct ceased (the “Class Period”).

        3.      “Automotive Wire Harness Systems” are automotive electrical distribution

 systems used to direct and control electronic components, wiring, and circuit boards in an

 automotive vehicle. Essentially, Automotive Wire Harness Systems serve as the “central

 nervous system” of a motor vehicle. “Automotive Wire Harness Systems” include the

 following: automotive electrical wiring, lead wire assemblies, cable bond, automotive wiring

 connectors, automotive wiring terminals, electronic control units, fuse boxes, relay boxes,

 junction blocks, power distributors, and speed sensor wire assemblies.

        4.      The Delphi Defendants, the Denso Defendants, the Fujikura Defendants, the

 Furukawa Defendants, the Lear Defendants, the Leoni Defendants, the Sumitomo Defendants, S-

 Y Systems, the Yazaki Defendants, the Tokai Rika Defendants, and the G.S. Electech

 Defendants (all as defined below, and collectively “Defendants”) manufacture, market, and sell

 Automotive Wire Harness Systems throughout the United States. The manufacture and sale of

 Automotive Wire Harness Systems is a multi-billion dollar industry.




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        5.      Defendants and other co-conspirators (as yet unknown) agreed, combined, and

 conspired to inflate, fix, raise, maintain, or artificially stabilize prices of Automotive Wire

 Harness Systems.

        6.      Competition authorities in the United States, the European Union, and Japan have

 been investigating a conspiracy in the market for Automotive Wire Harness Systems since at

 least February 2010. As part of its criminal investigation, the United States Department of

 Justice (“DOJ”) is seeking information about anticompetitive conduct in the market for

 Automotive Wire Harness Systems, and the Federal Bureau of Investigation (“FBI”) has

 participated in raids, pursuant to search warrants, carried out in at least some of the Defendants’

 offices. The European Commission Competition Authority (“EC”) has also conducted dawn

 raids at the European offices of several of the Defendants.

        7.      As hereafter more fully alleged, Defendants Furukawa Electric Co. Ltd., Yazaki

 Corporation, Denso Corporation, G.S. Electech, Inc., and Fujikura Ltd., have pleaded guilty to

 participating in the Automotive Wire Harness Systems cartel during the Class Period and have

 agreed to pay substantial fines for their unlawful conduct. These Defendants and their co-

 conspirators participated in a combination and conspiracy to suppress and eliminate competition

 in the automotive parts industry by agreeing to rig bids for, and to fix, stabilize, and maintain the

 prices of Automotive Wire Harness Systems sold to automobile manufacturers and others in the

 United States. The combination and conspiracy engaged in by these Defendants and their co-

 conspirators was in unreasonable restraint of interstate and foreign trade and commerce in

 violation of the Sherman Antitrust Act, 15 U.S.C. § 1.

        8.      As part of their plea agreements, Defendants have agreed to assist the DOJ in its

 ongoing criminal investigation into the automotive parts industry.




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         9.      As a direct result of the anti-competitive and unlawful conduct alleged herein,

 Plaintiffs and the Classes paid artificially inflated prices for Automotive Wire Harness Systems

 during the Class Period and have thereby suffered antitrust injury to their business or property.


                                   JURISDICTION AND VENUE

         10.     Plaintiffs bring this action under Section 16 of the Clayton Act (15 U.S.C. § 26) to

 secure equitable and injunctive relief against Defendants for violating Section 1 of the Sherman

 Act (15 U.S.C. § 1). Plaintiffs also assert claims for actual and exemplary damages pursuant to

 state antitrust, unfair competition, and consumer protection laws, and seek to obtain restitution,

 recover damages and secure other relief against Defendants for violation of those state laws.

 Plaintiffs and the Classes also seek attorneys’ fees, costs, and other expenses under federal and

 state law.

         11.     This Court has jurisdiction over the subject matter of this action pursuant to

 Section 16 of the Clayton Act (15 U.S.C. § 26), Section 1 of the Sherman Act (15 U.S.C. § 1),

 and Title 28, United States Code, Sections 1331 and 1337. This Court has subject matter

 jurisdiction of the state law claims pursuant to 28 U.S.C. §§ 1332(d) and 1367, in that: (i) this is

 a class action in which the matter or controversy exceeds the sum of $5,000,000, exclusive of

 interests and costs, and in which some members of the proposed Classes are citizens of a state

 different from some Defendants; and (ii) Plaintiffs’ state law claims form part of the same case

 or controversy as their federal claims under Article III of the United States Constitution.

         12.     Venue is proper in this district pursuant to Section 12 of the Clayton Act (15

 U.S.C. § 22), and 28 U.S.C. §§ 1391 (b), (c), and (d), because a substantial part of the events

 giving rise to Plaintiffs’ claims occurred in this district, a substantial portion of the affected

 interstate trade and commerce discussed below has been carried out in this district, and one or




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 more of the Defendants reside, are licensed to do business in, are doing business in, had agents

 in, or are found or transact business in this district.

         13.     This Court has in personam jurisdiction over each of the Defendants because each

 Defendant, either directly or through the ownership and/or control of its United States

 subsidiaries, inter alia: (a) transacted business in the United States, including in this district;

 (b) directly or indirectly sold or marketed substantial quantities of Automotive Wire Harness

 Systems throughout the United States, including in this district; (c) had substantial aggregate

 contacts with the United States as a whole, including in this district; or (d) were engaged in an

 illegal price-fixing conspiracy that was directed at, and had a direct, substantial, reasonably

 foreseeable and intended effect of causing injury to, the business or property of persons and

 entities residing in, located in, or doing business throughout the United States, including in this

 district. Defendants also conduct business throughout the United States, including in this district,

 and they have purposefully availed themselves of the laws of the United States.

         14.     Defendants engaged in conduct both inside and outside of the United States that

 caused direct, substantial and reasonably foreseeable and intended anti-competitive effects upon

 interstate commerce within the United States.

         15.     The activities of Defendants and their co-conspirators were within the flow of,

 were intended to, and did have, a substantial effect on interstate commerce of the United States.

 Defendants’ products are sold in the flow of interstate commerce.

         16.     Automotive Wire Harness Systems manufactured abroad by Defendants and sold

 for use in automobiles that were either manufactured in the United States or manufactured

 abroad and sold in the United States are goods brought into the United States for sale, and

 therefore constitute import commerce. To the extent any Automotive Wire Harness Systems are




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 purchased in the United States, and such Automotive Wire Harness systems do not constitute

 import commerce, Defendants’ unlawful activities with respect thereto, as more fully alleged

 herein during the Class Period, had, and continue to have, a direct, substantial and reasonably

 foreseeable effect on United States commerce. The anticompetitive conduct, and its effect on

 United States commerce described herein, proximately caused antitrust injury to Plaintiffs and

 members of the Classes in the United States.

        17.     By reason of the unlawful activities hereinafter alleged, Defendants substantially

 affected commerce throughout the United States, causing injury to Plaintiffs and members of the

 Classes. Defendants, directly and through their agents, engaged in activities affecting all states,

 to fix or inflate prices of Automotive Wire Harness Systems, which conspiracy unreasonably

 restrained trade and adversely affected the market for Automotive Wire Harness Systems.

        18.     Defendants’ conspiracy and wrongdoing described herein adversely affected

 persons in the United States who purchased Automotive Wire Harness Systems for personal use,

 including Plaintiffs and members of the Classes.


                                             PARTIES

        19.     Plaintiff Rebecca Lynn Morrow is a Glendale, Arizona resident who purchased

 Automotive Wire Harness Systems indirectly from one or more Defendants.

        20.     Plaintiff Erica Shoaf is a Phoenix, Arizona resident who purchased Automotive

 Wire Harness Systems indirectly from one or more Defendants.

        21.     Plaintiff Ifeoma Adams is a Hercules, California resident who purchased

 Automotive Wire Harness Systems indirectly from one or more Defendants.

        22.     Plaintiff Melissa Barron is an Oakland, California resident who purchased

 Automotive Wire Harness Systems indirectly from one or more Defendants.




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        23.    Plaintiff John Hollingsworth is a Saratoga, California resident who purchased

 Automotive Wire Harness Systems indirectly from one or more Defendants.

        24.    Plaintiff Meetesh Shah is a Daly City, California resident who purchased

 Automotive Wire Harness Systems indirectly from one or more Defendants.

        25.    Plaintiff Gary Arthur Herr is an Orlando, Florida resident who purchased

 Automotive Wire Harness Systems indirectly from one or more Defendants.

        26.    Plaintiff Michael Tracy is a Pensacola, Florida resident who purchased

 Automotive Wire Harness Systems indirectly from one or more Defendants.

        27.    Plaintiff Jane Taylor is a Kapaa, Hawaii resident who purchased Automotive Wire

 Harness Systems indirectly from one or more Defendants.

        28.    Plaintiff Jennifer Chase is a Waterloo, Iowa resident who purchased Automotive

 Wire Harness Systems indirectly from one or more Defendants.

        29.    Plaintiff Darrel Senior is a Lenexa, Kansas resident who purchased Automotive

 Wire Harness Systems indirectly from one or more Defendants.

        30.    Plaintiff AGA Realty LLC, a Limited Liability Company with its principal place

 of business in Portland, Maine, purchased Automotive Wire Harness Systems indirectly from

 one or more Defendants.

        31.    Plaintiff James Marean is a Westbrook, Maine resident who purchased

 Automotive Wire Harness Systems indirectly from one or more Defendants.

        32.    Plaintiff Ron Blau is a Newton Highlands, Massachusetts resident who purchased

 Automotive Wire Harness Systems indirectly from one or more Defendants.

        33.    Plaintiff Roger Olson is a South Haven, Michigan resident who purchased

 Automotive Wire Harness Systems indirectly from one or more Defendants.




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        34.    Plaintiff Susan Olson is a South Haven, Michigan resident who purchased

 Automotive Wire Harness Systems indirectly from one or more Defendants.

        35.    Plaintiff Nilsa Mercado is a Waterford, Michigan resident who purchased

 Automotive Wire Harness Systems indirectly from one or more Defendants.

        36.    Plaintiff Darcy Sherman is a Minneapolis, Minnesota resident who purchased

 Automotive Wire Harness Systems indirectly from one or more Defendants.

        37.    Plaintiff Curtis Gunnerson is a South Haven, Minnesota resident who purchased

 Automotive Wire Harness Systems indirectly from one or more Defendants.

        38.    Plaintiff David Bernstein is a Minnetonka, Minnesota resident who purchased

 Automotive Wire Harness Systems indirectly from one or more Defendants.

        39.    Plaintiff Ellis Winton McInnis is a Flowood, Mississippi resident who purchased

 Automotive Wire Harness Systems indirectly from one or more Defendants.

        40.    Plaintiff Thomas Wilson is a Tupelo, Mississippi resident who purchased

 Automotive Wire Harness Systems indirectly from one or more Defendants.

        41.    Plaintiff Lauren C. Primos is a Flowood, Mississippi resident who purchased

 Automotive Wire Harness Systems indirectly from one or more Defendants.

        42.    Plaintiff Robert Klingler is a Manchester, Missouri resident who purchased

 Automotive Wire Harness Systems indirectly from one or more Defendants.

        43.    Plaintiff Jessica DeCastro is a St. Louis, Missouri resident who purchased

 Automotive Wire Harness Systems indirectly from one or more Defendants.

        44.    Plaintiff Lori Curtis is a St. Louis, Missouri resident who purchased Automotive

 Wire Harness Systems indirectly from one or more Defendants.




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        45.    Plaintiff Virginia Pueringer is a Billings, Montana resident who purchased

 Automotive Wire Harness Systems indirectly from one or more Defendants.

        46.    Plaintiff Nathan Croom is an Omaha, Nebraska resident who purchased

 Automotive Wire Harness Systems indirectly from one or more Defendants.

        47.    Plaintiff Richard Stoehr is a Henderson, Nevada resident who purchased

 Automotive Wire Harness Systems indirectly from one or more Defendants.

        48.    Plaintiff Edward Muscara is a Manchester, New Hampshire resident who

 purchased Automotive Wire Harness Systems indirectly from one or more Defendants.

        49.    Plaintiff Michael Wick is a Rio Rancho, New Mexico resident who purchased

 Automotive Wire Harness Systems indirectly from one or more Defendants.

        50.    Plaintiff Ian Groves is an Albuquerque, New Mexico resident who purchased

 Automotive Wire Harness Systems indirectly from one or more Defendants.

        51.    Plaintiff Tenisha Burgos is a Bronx, New York resident who purchased

 Automotive Wire Harness Systems indirectly from one or more Defendants.

        52.    Plaintiff Jason Grala is a Holbrook, New York resident who purchased

 Automotive Wire Harness Systems indirectly from one or more Defendants.

        53.    Plaintiff Peter Brook is a Bayside, New York resident who purchased Automotive

 Wire Harness Systems indirectly from one or more Defendants.

        54.    Plaintiff Kathleen Tawney is a Charlotte, North Carolina resident who purchased

 Automotive Wire Harness Systems indirectly from one or more Defendants.

        55.    Plaintiff Kelly Klosterman is a Mooreton, North Dakota resident who purchased

 Automotive Wire Harness Systems indirectly from one or more Defendants.




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        56.    Plaintiff Melinda Harr DDS PC, a corporation with its principal offices in Fargo,

 North Dakota, purchased Automotive Wire Harness Systems indirectly from one or more

 Defendants.

        57.    Plaintiff Cindy Prince is a Langlois, Oregon resident who purchased Automotive

 Wire Harness Systems indirectly from one or more Defendants.

        58.    Plaintiff Paul Gustafson is a Milwaukie, Oregon resident who purchased

 Automotive Wire Harness Systems indirectly from one or more Defendants.

        59.    Plaintiff Frances Gammell Roach is a Warwick, Rhode Island resident who

 purchased Automotive Wire Harness Systems indirectly from one or more Defendants.

        60.    Plaintiff William Picotte is a former resident of South Dakota who purchased

 Automotive Wire Harness Systems indirectly from one or more Defendants in South

 Dakota during the Class Period.

        61.    Plaintiff Phillip Young is a Bon Aqua, Tennessee resident who purchased

 Automotive Wire Harness Systems indirectly from one or more Defendants.

        62.    Plaintiff Becky Bergeson is a Merry, Utah resident who purchased Automotive

 Wire Harness Systems indirectly from one or more Defendants.

        63.    Plaintiff Jesse Powell is a Lehi, Utah resident who purchased Automotive Wire

 Harness Systems indirectly from one or more Defendants.

        64.    Plaintiff Alena Farrell is a South Burlington, Vermont resident who purchased

 Automotive Wire Harness Systems indirectly from one or more Defendants.

        65.    Plaintiff Jane FitzGerald is a Milton, Vermont resident who purchased

 Automotive Wire Harness Systems indirectly from one or more Defendants.




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         66.     Plaintiff Arthur Stukey is a Montpelier, Vermont resident who purchased

 Automotive Wire Harness Systems indirectly from one or more Defendants.

         67.     Plaintiff Janne Rice is a Kenova, West Virginia resident who purchased

 Automotive Wire Harness Systems indirectly from one or more Defendants.

         68.     Plaintiff Robert Rice, Jr. is a Kenova, West Virginia resident who purchased

 Automotive Wire Harness Systems indirectly from one or more Defendants.

         69.     Plaintiff Stacey Nickell is a Beckley, West Virginia resident who purchased

 Automotive Wire Harness Systems indirectly from one or more Defendants.

         70.     Plaintiff Carol Ann Kashishian is a Milwaukee, Wisconsin resident who

 purchased Automotive Wire Harness Systems indirectly from one or more Defendants.

         71.     Plaintiff Susan LaCava is a Madison, Wisconsin resident who purchased

 Automotive Wire Harness Systems indirectly from one or more Defendants.

 The Delphi Defendants

         72.     Defendant Delphi Automotive LLP is headquartered in Troy, Michigan and is a

 limited liability partnership incorporated under the laws of England and Wales. Delphi

 Automotive LLP, together with its subsidiaries and affiliates, manufactured Automotive Wire

 Harness Systems that were sold and/or purchased in the United States during the Class Period,

 including in this District.

         73.     Defendant Delphi Automotive Systems, LLC is incorporated in Delaware and

 headquartered in Troy, Michigan. Delphi Automotive Systems, LLC manufactured Automotive

 Wire Harness Systems that were sold and/or purchased in the United States during the Class

 Period, including in this District.




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        74.       Defendants Delphi Automotive LLP and Delphi Automotive Systems, LLC shall

 collectively be referred to herein as the “Delphi Defendants” or “Delphi.”

        75.       Delphi Automotive LLP and Delphi Automotive Systems, LLC were both formed

 in 2009 to acquire certain automotive parts assets from Delphi Corporation and its subsidiaries

 which were then in bankruptcy. Delphi Automotive LLP and Delphi Automotive Systems, LLC

 continued the Automotive Wire Harness Systems business that had been conducted by Delphi

 Corporation and its subsidiaries prior to their entry into the bankruptcy proceedings hereinafter

 more fully described.

        76.       In December 2004, for example, Delphi Corporation and Furukawa Electric

 (defined below) announced the creation of a joint venture responsible for selling Automotive

 Wiring Harness Systems to Toyota in North America. The joint venture – named Delphi

 Furukawa Wiring Systems LLC – was based in Warren, Ohio. As Furukawa Electric stated in a

 press release:

        Delphi Furukawa Wiring Systems LLC has the abilities for design, development
        and quality control of Wiring Harness succeeded from Furukawa Electric and the
        abilities for system integration, manufacturing and customer support in North
        America from Delphi, in order to meet and exceeds [sic] the customer's
        expectations. The joint venture is responsible for the sales and engineering
        activities for the Wiring Harness, which both Delphi and Furukawa Electric have
        agreed upon for Toyota programs in North America, and it will take charge of
        sales activities directly to the customer. Regarding the manufacturing of Wiring
        Harness, the joint venture will utilize existing Delphi's operation facility under its
        direction, in order to put know-how from the both parent companies.

        77.       In October, 2005, Delphi Corporation and certain U.S. subsidiaries and affiliates,

 including Delphi Furukawa Wiring Systems LLC, filed 42 petitions for Chapter 11 bankruptcy

 protection. These proceedings were jointly administered in the United States Bankruptcy Court

 for the Southern District of New York. See Docket Nos. 05-44481 (Delphi Corporation); 05-

 47452 (Delphi Furukawa Wiring Systems LLC).



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        78.     In 2006, Delphi Furukawa Wiring Systems LLC opened a 5,500 square foot

 Customer Service Center at 2311 Green Road in Ann Arbor, Michigan, near the Toyota

 Technical Center.

        79.     On July 30, 2009, the bankruptcy court approved a modified plan of

 reorganization. [Docket No. 05-44481, Doc. No. 18707]. The modified plan of reorganization

 became effective on October 6, 2009 (the “Effective Date”).

        80.     On October 6, 2009, Delphi Corporation (which in bankruptcy had changed its

 name to DPH Holdings Corporation) substantially consummated the terms of the modified plan

 of reorganization. On that date, Delphi Automotive LLP, through subsidiaries and affiliates

 owned and controlled by it, acquired substantially all of the bankrupt Delphi entities’ global core

 businesses, including the portion of the bankrupt Delphi entities’ Automotive Wire Harness

 Business.

        81.     Following the Effective Date, the Delphi Defendants continued the Automotive

 Wire Harness Systems supply relationships that had been developed by the bankrupt entities,

 including, for example, Delphi Furukawa Wiring Systems LLC’s supply relationship with

 Toyota. Delphi Automotive Systems, LLC currently maintains and operates the Delphi Ann

 Arbor Customer Service Center in Ann Arbor, Michigan near the Toyota Technical Center. On

 March 15, 2011, Toyota recognized “Delphi Automotive” as one of its top suppliers for 2010,

 noting “wire harness” among the products supplied.

        82.     Following the Effective Date, the Delphi Defendants continued to sell

 Automotive Wire Harness Systems pursuant to, and as part of their participation in furtherance

 of, the conspiracy alleged herein. From and after October 6, 2009, the Delphi Defendants sold a

 significant number of Automotive Wire Harness Systems in the United States at supra-




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 competitive prices. For 2010 alone, Delphi Automotive LLP reported $5.6 billion in total sales

 for its Electronic/Electronic Architecture business segment, which included significant sales for

 Automotive Wire Harness Systems in the United States pursuant to the conspiracy.

 The Denso Defendants

        83.     Defendant Denso Corp. is a Japanese corporation. Defendant Denso Corp. –

 directly and/or through its subsidiaries, which it wholly owned and/or controlled – manufactured,

 marketed and/or sold Automotive Wire Harness Systems that were purchased throughout the

 United States, including in this district, during the Class Period.

        84.     Defendant Denso International America, Inc. is a Delaware corporation with its

 principal place of business in Southfield, Michigan. It is a subsidiary of and wholly owned

 and/or controlled by its parent, Denso Corp. Defendant Denso International America, Inc.

 manufactured, marketed and/or sold Automotive Wire Harness Systems that were purchased

 throughout the United States, including in this district, during the Class Period. At all times

 during the Class Period, its activities in the United States were under the control and direction of

 its Japanese parent.

        85.     Defendants Denso Corp., and Denso International America, Inc. shall collectively

 be referred to herein as the “Denso Defendants” or “Denso.”

 The Fujikura Defendants

        86.     Defendant Fujikura Ltd. is a Japanese corporation. Defendant Fujikura Ltd. –

 directly and/or through its subsidiaries, which it wholly owned and/or controlled – manufactured,

 marketed and/or sold Automotive Wire Harness Systems that were purchased throughout the

 United States, including in this district, during the Class Period.




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        87.      Defendant Fujikura America, Inc. is a Delaware corporation with its principal

 place of business in Atlanta, Georgia. It is a subsidiary of and wholly owned and/or controlled

 by its parent, Fujikura Ltd. Defendant Fujikura America, Inc. manufactured, marketed and/or

 sold Automotive Wire Harness Systems that were purchased throughout the United States,

 including in this district, during the Class Period. At all times during the Class Period, its

 activities in the United States were under the control and direction of its Japanese parent.

        88.      Defendants Fujikura Ltd. and Fujikura America, Inc. shall collectively be referred

 to herein as the “Fujikura Defendants” or “Fujikura.”

 The Furukawa Defendants

        89.      Defendant Furukawa Electric Co., Ltd. (“Furukawa Electric”) is a Japanese

 corporation. Defendant Furukawa Electric – directly and/or through its subsidiaries, which it

 wholly owned and/or controlled – manufactured, marketed and/or sold Automotive Wire Harness

 Systems that were purchased throughout the United States, including in this district, during the

 Class Period.

        90.      Defendant American Furukawa, Inc. (“American Furukawa”) is a Delaware

 corporation with its principal place of business in Plymouth, Michigan. It is a subsidiary of and

 wholly owned and/or controlled by its parent, Furukawa Electric. Defendant American

 Furukawa manufactured, marketed and/or sold Automotive Wire Harness Systems that were

 purchased throughout the United States, including in this district, during the Class Period. At all

 times during the Class Period, its activities in the United States were under the control and

 direction of its Japanese parent.

        91.      Defendant Furukawa Wiring Systems America, Inc. f/k/a Furukawa Lear

 Corporation and Lear Furukawa Corporation (“Furukawa Wiring”) is a Delaware corporation




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 with its principal place of business in El Paso, Texas. Defendant Furukawa Wiring is 60%

 owned by Furukawa Electric and 40% owned by American Furukawa. During the Class Period,

 Furukawa Wiring operated as a joint venture between Lear Corporation and Furukawa Electric

 that manufactured, distributed or sold Wire Harness Products in the United States. In June 2010,

 Furukawa Electric purchased all of Lear’s remaining interest.

        92.      Defendants Furukawa Electric, American Furukawa and Furukawa Wiring shall

 collectively be referred to herein as the “Furukawa Defendants” or “Furukawa.”

 The Lear Defendants

        93.      Defendant Lear Corp. is a Delaware corporation with its principal place of

 business in Southfield, Michigan. Defendant Lear – directly and/or through its subsidiaries,

 which it wholly owned and/or controlled – manufactured, marketed and/or sold Automotive

 Wire Harness Systems that were purchased throughout the United States, including in this

 district, during the Class Period.

        94.      Defendant Kyungshin-Lear Sales and Engineering, LLC is a Delaware

 corporation with its principal place of business in Selma, Alabama. It is a joint venture between

 Defendant Lear Corp. and Kyungshin Corporation of South Korea. Defendant Kyungshin-Lear

 Sales and Engineering, LLC manufactured, marketed and/or sold Automotive Wire Harness

 Systems that were purchased throughout the United States, including in this district, during the

 Class Period.

        95.      Defendants Lear Corp. and Kyungshin-Lear Sales and Engineering, LLC shall

 collectively be referred to herein as the “Lear Defendants” or “Lear.”

        96.      Lear filed for Chapter 11 bankruptcy protection on July 7, 2009. After their

 emergence from Chapter 11 bankruptcy proceedings on November 9, 2009, Lear continued to




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 sell Automotive Wire Harness Systems pursuant to and as part of its participation in furtherance

 of the conspiracy alleged herein. From and after November 2009, Lear had significant

 Automotive Wire Harness Systems sales in the United States at supra-competitive prices. In

 2010 alone, Lear had $2.5593 billion in total sales in its electric power and management systems,

 which includes significant sales for Automotive Wire Harness Systems in the United States

 pursuant to the conspiracy hereinafter alleged.

 The Leoni Defendants

           97.   Defendant Leoni AG is a German corporation. Defendant Leoni AG – directly

 and/or through its subsidiaries, which it wholly owned and/or controlled – manufactured,

 marketed and/or sold Automotive Wire Harness Systems that were purchased throughout the

 United States, including in this district, during the Class Period.

           98.   Defendant Leoni Wiring Systems, Inc. is a Delaware corporation with its

 principal place of business in Tucson, Arizona. It is a subsidiary of and wholly owned and/or

 controlled by its parent, Leoni AG. Defendant Leoni Wiring Systems, Inc. manufactured,

 marketed and/or sold Automotive Wire Harness Systems that were purchased throughout the

 United States, including in this district, during the Class Period. At all times during the Class

 Period, its activities in the United States were under the control and direction of its German

 parent.

           99.   Defendant Leonische Holding, Inc. is a Delaware corporation with its principal

 place of business in Tucson, Arizona. It is a subsidiary of and wholly owned and/or controlled

 by its parent, Leoni AG. Defendant Leonische Holding, Inc. manufactured, marketed and/or sold

 Automotive Wire Harness Systems that were purchased throughout the United States, including




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 in this district, during the Class Period. At all times during the Class Period, its activities in the

 United States were under the control and direction of its German parent.

         100.    Defendant Leoni Wire Inc. is a Massachusetts corporation with its principal place

 of business in Chicopee, Massachusetts. It is a subsidiary of and wholly owned and/or controlled

 by its parent Leoni AG. Defendant Leoni Wire Inc. manufactured, marketed or sold Wire

 Harness Products that were purchased throughout the United States, including in this District,

 during the Class Period. At all times during the Class Period, its activities in the United States

 were under the control and direction of its German parent.

         101.    Defendant Leoni Kabel GmbH is a German corporation Defendant Leoni Kabel

 GmbH manufactured, marketed or sold Wire Harness Products that were purchased throughout

 the United States, including in this District, during the Class Period.

         102.    Defendants Leoni AG, Leoni Wiring Systems, Inc., Leonische Holding, Inc., and

 Leoni Kabel GmbH shall collectively be referred to herein as the “Leoni Defendants” or

 “Leoni.”

 The Sumitomo Defendants

         103.    Defendant Sumitomo Electric Industries, Ltd. is a Japanese corporation.

 Defendant Sumitomo Electric Industries, Ltd. – directly and/or through its subsidiaries, which it

 wholly owned and/or controlled – manufactured, marketed and/or sold Automotive Wire

 Harness Systems that were purchased throughout the United States, including in this district,

 during the Class Period.

         104.    Defendant Sumitomo Electric Wintec America, Inc. is a Kentucky corporation

 with its principal place of business in Edmonton, Kentucky. It is a subsidiary of and wholly

 owned and/or controlled by its parent, Sumitomo Electric Industries, Ltd. Defendant Sumitomo




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 Electric Wintec America, Inc. manufactured, marketed and/or sold Automotive Wire Harness

 Systems that were purchased throughout the United States, including in this district, during the

 Class Period. At all times during the Class Period, its activities in the United States were under

 the control and direction of its Japanese parent. Defendant Sumitomo Electric Wintec America,

 Inc. manufactured, marketed or sold Wire Harness Products that were purchased throughout the

 United States, including in this District, during the Class Period. At all times during the Class

 Period, its activities in the United States were under the control and direction of its Japanese

 parent.

           105.   Defendant Sumitomo Wiring Systems, Ltd. is a Japanese corporation. Defendant

 Sumitomo Wiring Systems, Ltd. has asserted that it is “proud to hold the world’s top share in the

 automobile wiring harness field.” It – directly and/or through its subsidiaries, which it wholly

 owned and/or controlled – manufactured, marketed and/or sold Automotive Wire Harness

 Systems that were purchased throughout the United States, including in this district, during the

 Class Period.

           106.   Defendant Sumitomo Electric Wiring Systems, Inc. is a Delaware corporation

 with its principal place of business in Bowling Green, Kentucky. It is a joint venture between

 Defendants Sumitomo Electric Industries, Ltd. and Sumitomo Wiring Systems, Ltd. Defendant

 Sumitomo Electric Wiring Systems, Inc. manufactured, marketed and/or sold Automotive Wire

 Harness Systems that were purchased throughout the United States, including in this district,

 during the Class Period. At all times during the Class Period, its activities in the United States

 were under the control and direction of its Japanese joint venture participants.

           107.   Defendant K&S Wiring Systems, Inc. is a Delaware corporation with its principal

 place of business in La Vergne, Tennessee. It is a subsidiary of and wholly owned and/or




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 controlled by its parent, Sumitomo Electric Industries, Ltd. Defendant K&S Wiring Systems,

 Inc. manufactured, marketed and/or sold Automotive Wire Harness Systems that were purchased

 throughout the United States, including in this district, during the Class Period. At all times

 during the Class Period, its activities in the United States were under the control and direction of

 its Japanese parent.

        108.     Defendant Sumitomo Wiring Systems (U.S.A.) Inc. is a Michigan corporation

 with its principal place of business in Novi, Michigan. It is a joint venture between Defendants

 Sumitomo Electric Industries, Ltd. and Sumitomo Wiring Systems, Ltd. Defendant Sumitomo

 Wiring Systems (U.S.A.) Inc. manufactured, marketed and/or sold Automotive Wire Harness

 Systems that were purchased throughout the United States, including in this district, during the

 Class Period. At all times during the Class Period, its activities in the United States were under

 the control and direction of its Japanese joint venture participants.

        109.     Defendants Sumitomo Electric Industries, Ltd., Sumitomo Electric Wintec

 America, Inc., Sumitomo Wiring Systems, Ltd., Sumitomo Electric Wiring Systems, Inc., K&S

 Wiring Systems, Inc. and Sumitomo Wiring Systems (U.S.A.) Inc. shall collectively be referred

 to herein as the “Sumitomo Defendants” or “Sumitomo.”

 S-Y Systems and the Yazaki Defendants

        110.     Defendant S-Y Systems Technologies Europe GmbH (“S-Y Systems”) is a

 German corporation. Defendant S-Y Systems – directly and/or through its subsidiaries, which it

 wholly owned and/or controlled – manufactured, marketed and/or sold Automotive Wire Harness

 Systems that were purchased throughout the United States, including in this district, during the

 Class Period.




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         111.    Defendant Yazaki Corporation is a Japanese corporation. Defendant Yazaki

 Corporation – directly and/or through its subsidiaries, which it wholly owned and/or controlled –

 manufactured, marketed and/or sold Automotive Wire Harness Systems that were purchased

 throughout the United States, including in this district, during the Class Period.

         112.    Defendant S-Y Systems Technologies America, LLC (“S-Y Systems”) is a

 Delaware corporation with its principal place of business in Dearborn, Michigan. It is currently

 a wholly owned subsidiary of and/or controlled by its parent Defendant Yazaki Corporation, but

 was formerly a wholly owned subsidiary of and/or controlled by Defendant S-Y Systems.

 Defendant S-Y Systems Technologies America, LLC manufactured, marketed and/or sold

 Automotive Wire Harness Systems that were purchased throughout the United States, including

 in this district, during the Class Period. At all times during the Class Period, its activities in the

 United States were under the control and direction of either its German parent, during the time it

 was owned and controlled by S-Y Systems, or its current Japanese parent, Yazaki Corporation.

         113.    Defendant Yazaki North America, Inc. is an Illinois corporation with its principal

 place of business in Canton Township, Michigan. It is a subsidiary of and wholly owned and/or

 controlled by its parent, Yazaki Corporation. Defendant Yazaki North America Inc.

 manufactured, marketed and/or sold Automotive Wire Harness Systems that were purchased

 throughout the United States, including in this district, during the Class Period. At all times

 during the Class Period, its activities in the United States were under the control and direction of

 its Japanese parent.

         114.    Yazaki Corporation, Yazaki North America, Inc. and S-Y Systems Technologies

 America, LLC are herein referred to as shall collectively be referred to herein as the “Yazaki

 Defendants” or “Yazaki.”




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 The Tokai Rika Defendants

         115.    Defendant Tokai Rika, Ltd. is a Japanese company with its principal place of

 business in Toyota, Japan. Defendant Tokai Rika, Ltd. – directly and/or through its subsidiaries,

 which it wholly owned and/or controlled – manufactured, marketed and/or sold Automotive

 Wire Harness Systems that were purchased throughout the United States, including in this

 district, during the Class Period.

         116.    Defendant TRAM, Inc. d/b/a Tokai Rika U.S.A. Inc. is a Michigan Corporation

 with its principal place of business in Plymouth, Michigan. It is a subsidiary of and wholly

 owned and/or controlled by its parent Tokai Rika, Ltd. During the Class Period, Defendant

 TRAM, Inc. d/b/a Tokai Rika U.S.A. manufactured, marketed and/or sold Automotive Wire

 Harness Systems that were purchased throughout the United States, including this district, during

 the Class Period.

         117.    Tokai Rika, Ltd. and TRAM, Inc. d/b/a Tokai Rika U.S.A. Inc. are herein referred

 collectively as the “ Tokai Rika Defendants” or “Tokai Rika.”

 G.S. Electech Defendants

         118.    Defendant GS Electech, Inc. is a Japanese corporation with its principal place of

 business in Toyota, Japan. Defendant GS Electech, Inc. – directly and/or through its

 subsidiaries, which it wholly owned and/or controlled – manufactured, marketed and/or sold

 Automotive Wire Harness Systems that were purchased throughout the United States, including

 in this district, during the Class Period.

         119.    Defendant G.S. Wiring Systems Inc. is an Ohio corporation based in Findlay,

 Ohio. Upon information and belief, it is a subsidiary of and wholly owned and/or controlled by

 its parent G.S. Electech, Inc. G.S. Wiring Systems Inc. manufactured, marketed and/or sold




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 Automotive Wire Harness Systems that were purchased throughout the United States, including

 in this district, during the Class Period.

         120.    Defendant G.S.W. Manufacturing Inc. is an Ohio corporation based in Findlay,

 Ohio. Upon information and belief, it is a subsidiary of and wholly owned and/or controlled by

 its parent G.S. Electech, Inc. G.S.W. Manufacturing Inc. represents itself as a Tier 1 and 2

 supplier of Automotive Wire Harness Systems. G.S.W. Manufacturing Inc. manufactured,

 marketed and/or sold Automotive Wire Harness Systems that were purchased throughout the

 United States, including in this district, during the Class Period.


                               AGENTS AND CO-CONSPIRATORS

         121.    Each Defendant acted as the principal of or agent for other Defendants with

 respect to the acts, violations, and common course of conduct alleged.

         122.    Various persons, partnerships, sole proprietors, firms, corporations and

 individuals not named as Defendants in this lawsuit, and individuals, the identities of which are

 presently unknown, have participated as co-conspirators with Defendants in the offenses alleged

 in this Complaint, and have performed acts and made statements in furtherance of the conspiracy

 or in furtherance of the anti-competitive conduct.

         123.    Whenever in this Complaint reference is made to any act, deed or transaction of

 any corporation or limited liability entity, the allegation means that the corporation or limited

 liability entity engaged in the act, deed or transaction by or through its officers, directors, agents,

 employees or representatives while they were actively engaged in the management, direction,

 control or transaction of the corporation’s or limited liability entity’s business or affairs.




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                                   FACTUAL ALLEGATIONS

        A.      The Automotive Wire Harness System Industry

        124.    Automotive Wire Harness Systems comprise the “central nervous system” of an

 automotive vehicle and consist of the wires or cables and data circuits that run throughout the

 vehicle. To ensure safety and basic functions (e.g., going, turning, and stopping), as well as to

 provide comfort and convenience, automobiles are equipped with various electronics that operate

 using control signals running on electrical power supplied from the battery. The Automotive

 Wire Harness System is the conduit for the transmission of these signals and electrical power.

 See Figures 1 and 2.




 Figure 1.




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 Figure 2.

        125.      Automotive electrical wiring is the wiring that runs throughout the vehicle.

        126.      High voltage wiring is integral to vehicles equipped with hybrid, fuel-cell or

 electric-powered powertrains.

        127.      Lead wire assembles connect a wire carrying electrical current from the power

 source to an electrode holder or a group clamp.

        128.      Cable bonds are the electrical connection between the armor or sheath of one

 cable and that of an adjacent cable or across a wire in the armor.

        129.      Automotive wiring connectors connect various types of wires in an automobile.

 Wire connectors that carry reduced amps tend to be small, while those connectors that are

 handling heavy loads tend to be much larger. Automotive wiring connectors can snap, slide, or

 clip together.

        130.      Automotive wiring terminals are the ends of a wire that provide a point of

 connection to external circuits.

        131.      Electrical control units are embedded modules or systems that control one or more

 of the electrical systems or subsystems in a motor vehicle. Motor vehicles are equipped with a




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 large number of electronic control units which operate various automotive functions and

 exchange large volumes of data with one another.

        132.    Fuse boxes are modules that hold the fuses for the various electrical circuits, all of

 which are routed through the fuse box. The primary purpose of an electrical fuse is to help

 protect components on a circuit from damage in the event of a short circuit or a current spike or

 overload. Vehicles have several fuses that are necessary to safeguard electrical circuits.

        133.    Relay boxes are modules that hold the electrical switches that transit impulses

 from one component to another, and can be used to connect or break the flow of the current in a

 circuit. Once a relay is activated it connects an electrical or other data supply to a particular

 component or accessory.

        134.    Junction blocks are used as electrical connection points for the distribution power

 or distribution of a ground.

        135.    Power distributors serve to distribute power at varying levels to various electrical

 components.

        136.    Speed sensor wire assemblies are installed on automobiles with Antilock Brake

 Systems (“ABS”). The speed sensor wire assemblies connect a sensor on each tire to the ABS

 and carry electrical signals from the sensors to the ABS to instruct it when to engage.

        137.    Automotive Wire Harness Systems are installed by automobile original

 equipment manufacturers (“OEMs”) in new cars as part of the automotive manufacturing

 process. They are also installed in cars to replace worn out, defective or damaged Automotive

 Wire Harness Systems.

        138.    For new cars, the OEMs—mostly large automotive manufacturers such as Honda,

 Toyota, Volvo, and General Motors—purchase Automotive Wire Harness Systems directly from




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 Defendants. Automotive Wire Harness Systems may also be purchased by component

 manufacturers who then supply such systems to OEMs. These component manufacturers are

 also called “Tier 1 Manufacturers” in the industry. Tier I Manufacturers supply Automotive

 Wire Harness Systems directly to an OEM.

           139.   When purchasing Automotive Wire Harness Systems and related products, OEMs

 issue Requests for Quotation (“RFQs”) to automotive parts suppliers. Automotive parts

 suppliers submit quotations, or bids, to OEMs in response to RFQs, and the OEMs usually award

 the business to the selected automotive parts supplier for four to six years. Typically, the bidding

 process begins approximately three years prior to the start of production of a new model.

 Japanese OEMs procure parts for U.S.-manufactured vehicles both in Japan and the United

 States.

           140.   Defendants and their co-conspirators supplied Automotive Wire Harness Systems

 to OEMs for installation in vehicles manufactured and sold in the United States and elsewhere.

 Defendants and their co-conspirators manufactured Automotive Wire Harness Systems (a) in the

 United States for installation in vehicles manufactured and sold in the United States, (b) in Japan

 for export to the United States and installation in vehicles manufactured and sold in the United

 States, and (c) in Japan for installation in vehicles manufactured in Japan for export to and sale in

 the United States.

           141.   Plaintiffs and members of the proposed Classes purchased Automotive Wire

 Harness Systems indirectly from one or more of the Defendants. By way of example, an owner

 of a vehicle may indirectly purchase an Automotive Wire Harness System from Defendants as

 part of purchasing or leasing the new vehicle. An owner of a vehicle may also indirectly




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 purchase a replacement Automotive Wire Harness System from Defendants when repairing a

 damaged vehicle or where the vehicle’s Automotive Wire Harness System is defective.

        142.   The global Automotive Wire Harness Systems market size reached US $21.9

 billion in 2009, and increased by 32.2% to US $29 billion in 2010. According to Research in

 China, a leading source for international market research and market data, the Automotive Wire

 Harness Systems market is steadily growing, and is expected to be US $32 billion in 2012.

        143.   The global Automotive Wire Harness Systems market is dominated and

 controlled by large manufacturers, the top six of which are Defendants who control almost 90%

 of the global market; of those, four control almost 77% of the global market. See Figures 3 and

 4.




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 Market Shares of World’s Major Manufacturers of Automotive Wiring Harness, 2009




 Figure 3.




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 Ranking by Revenue of Automotive Wiring Harness Manufacturers Worldwide, 2009




 Figure 4.

        144.    Yazaki controlled almost 30% of the global market for Automotive Wire Harness

 Systems as of 2009. As it states on its website, its Automotive Wire Harness Systems are “used

 by every carmaker in Japan,” and it “commands a top share in the global market.” In fact, 77%

 of Yazaki’s sales are from Automotive Wire Harnesses, and 37% of its 2007 sales were in the

 Western Hemisphere. Yazaki’s largest customers are Toyota, followed by Chrysler, Ford,

 Renault-Nissan, Honda, and finally General Motors. In the Western Hemisphere, it supplies

 Chrysler, Ford, General Motors, Honda, Isuzu, Mazda, Mitsubishi, Nissan, Renault, Subaru, and

 Toyota.

        145.   Defendant Sumitomo is the second largest manufacturer of Automotive Wire

 Harness Systems, and controls 24% of the global market.


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         146.   Defendant Delphi is the third largest maker of Automotive Harness Systems as of

 2009. It controls 16.71% of the global market. Its two largest customers are General Motors and

 Ford.

         147.   Defendant Lear controls almost 5% of the global market for Automotive Wire

 Harness Systems. Lear supplies Toyota, General Motors, Ford, and BMW.

         148.   Defendant Furukawa controls almost 4% of the global market for Automotive

 Wire Harness Systems.

         149.   Defendant Leoni controls 6% of the global market for Automotive Wire Harness

 Systems.

         150.   By virtue of their market shares, Defendants are the dominant manufacturers and

 suppliers of Automotive Wire Harness Systems in the United States and the world.

         B.     Defendants Increased Prices for Automotive
                Wire Harness Systems Despite Steady Costs

         151.   In a competitive market, falling material and labor costs would lead to decreased

 prices because each competitor would be afraid that other competitors would attempt to take

 advantage of their lower costs to lower their prices in order to capture market share. The only

 economically rational action in such a situation is for each competitor to lower its own prices.

         152.   In a market where competitors have engaged in a conspiracy to fix prices,

 however, competitors do not lower prices even when faced with steady or decreasing input costs.

 Such price decreases are unnecessary because the conspirators know that they will not lose sales

 to lower-priced competitors.

         153.   The price of Automotive Wire Harness Systems increased during the Class

 Period, while major input costs virtually remained the same. In fact, according to Research in

 China, Sumitomo and Furukawa own their own copper mines and effectively control their copper



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 input costs. Copper is a major input cost component in the manufacture of Automotive Wire

 Harness Systems. In a competitive market, steady input costs should not have resulted in rising

 prices to Defendants’ customers for Automotive Wire Harness Systems. Such anti-competitive

 price increases have resulted in Plaintiffs and members of the Classes paying supra-competitive

 prices.

           C.     The Structure and Characteristics of the Automotive Wire
                  Harness Systems Market Render the Conspiracy More Plausible

           154.   The structure and other characteristics of the Automotive Wire Harness Systems

 market in the United States are conducive to a price-fixing agreement, and have made collusion

 particularly attractive in this market. Specifically, the Automotive Wire Harness Systems

 market: (1) has high barriers to entry; (2) has inelasticity of demand; (3) is highly concentrated;

 and (4) is rife with opportunities to conspire.

                  1.     The Automotive Wire Harness Systems
                         Market Has High Barriers to Entry

           155.   A collusive arrangement that raises product prices above competitive levels

 would, under basic economic principles, attract new entrants seeking to benefit from the supra-

 competitive pricing. Where, however, there are significant barriers to entry, new entrants are

 less likely to enter the market. Thus, barriers to entry help to facilitate the formation and

 maintenance of a cartel.

           156.   There are substantial barriers that preclude, reduce, or make more difficult entry

 into the Automotive Wire Harness Systems market. A new entrant into the business would face

 costly and lengthy start-up costs, including multi-million dollar costs associated with

 manufacturing plants and equipment, energy, transportation, distribution infrastructure, skilled

 labor, and long-standing customer relationships.




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        157.    In addition, OEMs cannot change Automotive Wire Harness Systems suppliers

 randomly after they choose one because the OEMs design the features of their vehicles so that

 the Automotive Wire Harness System it purchases for a vehicle is then integrated with the

 electronics, mechanics, thermal distribution and other features of the particular vehicle model.

 Thus, the design must be synergized by Automotive Wire Harness Systems manufacturers and

 OEMs. It would be difficult for a new market entrant to do so.

                2.      There is Inelasticity of Demand for
                        Automotive Wire Harness Systems

        158.    “Elasticity” is a term used to describe the sensitivity of supply and demand to

 changes in one or the other. For example, demand is said to be “inelastic” if an increase in the

 price of a product results in only a small decline in the quantity sold of that product, if any. In

 other words, customers have nowhere to turn for alternative, cheaper products of similar quality,

 and so continue to purchase despite a price increase.

        159.    For a cartel to profit from raising prices above competitive levels, demand must

 be relatively inelastic at competitive prices. Otherwise, increased prices would result in

 declining sales, revenues and profits, as customers purchased substitute products or declined to

 buy altogether. Inelastic demand is a market characteristic that facilitates collusion, allowing

 producers to raise their prices without triggering customer substitution and lost sales revenue.

        160.    Demand for Automotive Wire Harness Systems is highly inelastic. Demand for

 Automotive Wire Harness Systems is inelastic because there are no close substitutes for these

 products. In addition, customers must purchase Automotive Wire Harness Systems as an

 essential part of a vehicle, even if the prices are kept at a supra-competitive level.




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                3.        The Market for Automotive Wire
                          Harness Systems Is Highly Concentrated

        161.    A highly concentrated market is more susceptible to collusion and other anti-

 competitive practices.

        162.    As discussed above, Defendants dominate the Automotive Wire Harness Systems

 market. Six of the Defendants control almost 90% of the global market, and four of the

 Defendants control almost 77% of the global market: Yazaki controls almost 30%; Sumitomo

 controls 24%; Delphi controls 16.71%; Lear controls almost 5%; Furukawa controls almost 4%;

 and Leoni controls 6%.

                4.        Defendants had Ample Opportunities to Conspire

        163.    Defendants attended industry events where they had the opportunity to meet, have

 improper discussions under the guise of legitimate business contacts, and perform acts necessary

 for the operation and furtherance of the conspiracy. For example, Defendants and their co-

 conspirators have regularly attended the annual North American International Auto Show

 (“NAIAS”) in Detroit, Michigan and the Automotive Aftermarket Products Expo in Las Vegas,

 Nevada. Indeed, according to the NAIAS website, Defendant Denso was a premier sponsor of

 the 2012 event, held January 9 to January 22.

        D.      Government Investigations

        164.    A globally coordinated antitrust investigation is taking place in the United States,

 Europe, and Japan, aimed at suppliers of Automotive Wire Harness Systems.

        165.    The probe originated in Europe as the result of several European OEMs coming

 together to bring a complaint to the European Commission (“EC”). One carmaker is said to have

 failed to attract competitive bids for Automotive Wire Harness Systems, leading the company to

 join with other carmakers to take their complaint to the EC.




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        166.    On February 8, 2010, the EC executed surprise raids at the European offices of

 certain Defendants as part of an investigation into anti-competitive conduct related to the

 manufacturing and sale of Automotive Wire Harness Systems. The EC also carried out

 additional raids at the European offices of several suppliers of Automotive Wire Harness

 Systems on June 7, 2010. Specifically, EC investigators raided the offices of Leoni, S-Y

 Systems, and Yazaki. “The Commission has reason to believe that the companies concerned

 may have violated European Union antitrust rules that prohibit cartels and restrictive business

 practices,” an EC official said in a statement.

        167.    Defendants S-Y Systems and Leoni have admitted that they are cooperating with

 the antitrust investigators. Lear’s Chief Executive Officer Bob Rossiter has stated that Lear was

 notified by the EC that it is part of an investigation into anticompetitive practices among

 automotive electrical and electric component suppliers. In addition, Delphi has admitted to

 having “received a request for information from antitrust authorities at the European

 Commission seeking information about conduct by us in connection with an investigation in the

 European Union related to the electrical and electronic components market.” Delphi stated that

 it is cooperating fully with the European competition authorities. Leoni has also stated that it is

 cooperating with the antitrust investigators.

        168.    In February 2010, Japan’s Fair Trade Commission raided the Tokyo offices of

 Furukawa, Sumitomo, and Yazaki as part of an expansive investigation into collusion in the

 industry dating back to at least 2003.

        169.    The DOJ has stated that it is conducting an investigation of potential antitrust

 activity and coordinating its investigation with antitrust regulators in Europe. “The antitrust




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 division is investigating the possibility of anticompetitive cartel conduct of automotive electronic

 component suppliers,” Justice Department Spokeswoman Gina Talamona said.

        170.    Indeed, on February 23, 2010, around the same time as the raids by the Japanese

 and European competition authorities, investigators from the FBI raided three Detroit-area

 Japanese auto parts makers as part of a federal antitrust investigation. The FBI executed

 warrants and searched the offices of these companies, including Defendants Denso, Tokai Rika,

 as well as Yazaki’s subsidiary in Canton Township, Michigan. Special Agent Sandra Berchtold

 said the affidavits supporting issuance of the warrants were sealed in federal court.

        171.    To obtain search warrants, the United States was legally required to have probable

 cause, accepted by a magistrate, to believe that it would obtain evidence of an antitrust violation

 as a result of executing the search warrant – that is, the United States had to have evidence

 sufficient to warrant a person of reasonable caution to believe that raiding the offices of a

 seemingly lawful business would uncover evidence of antitrust violations and that claimed

 evidence must have been examined and accepted by a magistrate. That belief, which was

 recounted in sworn affidavits or testimony, must be grounded on reasonably trustworthy

 information.

        E.      Guilty Pleas

        172.    On September 29, 2011, the DOJ announced that Defendant Furukawa Electric

 had agreed to plead guilty and to pay a $200 million fine for its role in a criminal price-fixing

 and bid-rigging conspiracy involving the sale of Automotive Wire Harness Systems to

 automobile manufacturers.

        173.    Furukawa Electric is charged with price fixing in violation of the Sherman Act.

        174.    Furukawa Electric has pleaded guilty for its role in a conspiracy to rig bids for

 and to fix the prices of the sale of Automotive Wire Harnesses and related products sold to


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 automobile manufacturers in the United States and elsewhere. The DOJ announced in a press

 release that Furukawa Electric participated in the conspiracy from at least as early as January

 2000, until at least January 2010.

        175.    The plea agreements discussed herein are an outgrowth of the DOJ’s first charges

 in its ongoing international cartel investigation of price fixing and bid rigging in the auto parts

 industry. According to four separate one-count felony charges filed in the Unites States District

 Court for the Eastern District of Michigan in Detroit, Furukawa Electric and its executives –

 Junichi Funo, Hirotsugu Nagata, and Tetsuya Ukai – engaged in a conspiracy to rig bids for and

 to fix, stabilize and maintain the prices of Automotive Wire Harness Systems sold to customers

 in the United States and elsewhere.

        176.    According to the Information filed, Furukawa Electric and its co-conspirators

 carried out the conspiracy by:

                (a)     participating in meetings, conversations, and communications in the

 United States and Japan to discuss the bids and price quotations to be submitted to automobile

 manufacturers in the United States and elsewhere;

                (b)     agreeing, during those meetings, conversations, and communications, on

 bids and price quotations to be submitted to automobile manufacturers in the United States and

 elsewhere;

                (c)     agreeing, during those meetings, conversations, and communications, to

 allocate the supply of Automotive Wire Harness Systems sold to automobile manufacturers in

 the United States and elsewhere on a model-by-model basis;




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                  (d)    agreeing, during those meetings, conversations, and communications, to

 coordinate price adjustments requested by automobile manufacturers in the United States and

 elsewhere;

                  (e)    submitting bids, price quotations, and price adjustments to automobile

 manufacturers in the United States and elsewhere in accordance with the agreements reached;

                  (f)    selling Automotive Wire Harness Systems to automobile manufacturers in

 the United States and elsewhere at collusive and noncompetitive prices;

                  (g)    accepting payment for Automotive Wire Harness Systems sold to

 automobile manufacturers in the United States and elsewhere at collusive and noncompetitive

 prices;

                  (h)    engaging in meetings, conversations, and communications in the United

 States and elsewhere for the purpose of monitoring and enforcing adherence to the agreed-upon

 bid-rigging and price-fixing scheme; and

                  (i)    employing measures to keep their conduct secret, including but not limited

 to using code names and meeting at private residences or remote locations.

           177.   “As a result of this international price-fixing and bid-rigging conspiracy,

 automobile manufacturers paid noncompetitive and higher prices for parts in cars sold to U.S.

 consumers,” said Sharis A. Pozen, Acting Assistant Attorney General in charge of the

 Department of Justice’s Antitrust Division. “This cartel harmed an important industry in our

 nation’s economy, and the Antitrust Division with the Federal Bureau of Investigation will

 continue to work together to ensure that these kinds of conspiracies are stopped.”

           178.   “When companies partner to control and price fix bids or contracts, it undermines

 the foundation of the United States’ economic system,” said FBI’s Special Agent in Charge




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 Andrew G. Arena. “The FBI is committed to aggressively pursuing any company involved in

 antitrust crimes.”

        179.    At its November 14, 2011 Plea and Sentencing hearing, Defendant Furukawa

 Electric pleaded guilty, and was ordered to pay its $200 million fine within 45 days. At the

 hearing, Defendant Furukawa Electric described its participation in the conspiracy as follows:

                From the time period listed in the Information, that is,
                approximately from January, 2000 to January, 2010, officers and
                employees of my company had discussions with employees of
                competitors that also manufactured and sold automotive wire
                harness products. . . . These discussions took place in face-to-face
                meetings or by telephone. The discussions took place in the
                United States and elsewhere.

                During . . . such meetings and conversations, a conspiracy was
                formed and agreements were reached to allocate the supply of
                automotive wire harnesses and related products sold to automobile
                manufacturers on a model-by-model basis and to rig bids quoted to
                automobile manufacturers for automotive wire harnesses and
                related products.

                Therefore, as a result of these meetings, my company produced
                and sold automotive wire harnesses and related products that were
                the subject of the illegal price fixing agreements that my company
                had made with competitors. Those products and the payments for
                those products traveled in interstate and foreign commerce and
                substantially affected interstate and foreign trade and commerce.

                For the purposes of this plea agreement, during the time period of
                January, 2000 to January, 2010, our sales of automotive wire
                harnesses and related products affecting U.S. auto manufacturers
                totaled approximately $839 million.

                Finally, we note to the Court that some of the products affected by
                the conspiracy were sold to automobile manufacturers by one of
                our subsidiaries [American Furukawa], which is located here in the
                Eastern District of Michigan.

                 – Plea & Sentencing, United States v. Furukawa Electric Co., No.
                11-cr-20612 (E.D. Mich.), at 14-16.




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        180.    Furukawa Electric’s executives Funo, Nagata, and Ukai also admitted their

 participation in the unlawful cartel in open court:

                (a)       At his October 24, 2011 Guilty Plea Hearing, Furukawa executive Junichi

 Funo admitted that he participated in a conspiracy to restrain trade. Mr. Funo admitted entering

 into agreements with competitors – i.e., Defendants herein – in order to set prices and maintain

 them, including rigging bids that were solicited from customers. The agreements also sought to

 control, and did control, price adjustments. In Mr. Funo’s own words, he “did price fixing for

 automotive parts.” That price fixing “generally involved . . . wiring harnesses and related

 products.” The price fixing affected the sales of goods throughout the United States. Mr. Funo

 was personally present at meetings during which such unlawful agreements were reached,

 including meetings that occurred in the Eastern District of Michigan. Pursuant to his plea, Mr.

 Funo was sentenced to one year of prison, fined $20,000, and pledged to cooperate in the DOJ’s

 ongoing investigation.

                (b)       At his October 24, 2011 Guilty Plea Hearing, Furukawa executive

 Hirotsugu Nagata admitted that he participated in “an agreement to submit non-competitive bids

 in an amount greater than $100 million.” The purpose of the agreement was to “suppress and

 eliminate competition in the automotive parts industry.” In Mr. Nagata’s own words, he

 furthered the unlawful conspiracy with Defendants by having “a meeting [with] co-conspirators

 and some agreement [on] price for automobile manufacturing parts” – primarily Automotive

 Wire Harness Systems. He personally participated in “several” unlawful meetings to further the

 conspiracy, at which Defendants made agreements on pricing for Automotive Wire Harness

 Systems, including rigging bids. Some of the meetings occurred within the Eastern District of

 Michigan, and Mr. Nagata conceded that the unlawful agreements would impact businesses with




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 their principal place of business within the Eastern District of Michigan. Mr. Nagata noted that

 the price-fixed Automotive Wire Harness Systems were being sold in a number of different

 states in the United States, and undermined and prevented competition within the United States.

 Pursuant to his plea, Mr. Nagata was sentenced to serve 15 months in prison, fined $20,000, and

 pledged to cooperate with the DOJ’s ongoing investigation.

                (c)     At his November 10, 2011 Guilty Plea and Sentencing Hearing, Furukawa

 executive Tetsuya Ukai stated that he “fix[ed] price[s] over parts – auto parts with other

 suppliers.” He acknowledged that he met with competitors “in order to fix prices and rig bids

 with respect to wire harnesses and related products,” and conceded that the price-fixing meetings

 occurred both within the United States and elsewhere. He also acknowledged that the price-

 fixing would affect commerce in the United States and elsewhere, including in the Eastern

 District of Michigan through a Furukawa subsidiary – presumably American Furukawa. In

 addition, Mr. Ukai agreed that the commerce affected exceeded $100 million. As part of his

 plea, Mr. Ukai agreed to serve 18 months in prison and pay a $20,000 fine for his role in the

 conspiracy.

        181.    Defendant Furukawa Electric, as well as Messrs. Funo, Nagata and Ukai, have all

 agreed to assist the DOJ in its ongoing investigation into the automotive parts industry.

        182.    On January 30, 2012, the DOJ announced that Defendant Yazaki Corporation had

 agreed to pay a $470 million fine and to plead guilty to a three-count criminal information

 charging Yazaki Corporation with: (1) participating in a combination and conspiracy with its co-

 conspirators to suppress and eliminate competition in the automotive parts industry by agreeing

 to rig bids for, and to fix, stabilize, and maintain the prices of, automotive wire harnesses and

 related products sold to certain automobile manufacturers in the United States and elsewhere




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 from at least as early as January 2000 and continuing until at least February 2010 in violation of

 the Sherman Act, 15 U.S.C. § 1; (2) participating in a combination and conspiracy with its co-

 conspirators to suppress and eliminate competition in the automotive parts industry by agreeing

 to rig bids for, and to fix, stabilize, and maintain the prices of, instrument panel clusters sold to

 certain automobile manufacturers in the United States and elsewhere from at least as early as

 December 2002 and continuing until at least February 2010 in violation of the Sherman Act, 15

 U.S.C. § 1; and (3) participating in a combination and conspiracy with its co-conspirators to

 suppress and eliminate competition in the automotive parts industry by agreeing to rig bids for,

 and to fix, stabilize, and maintain the prices of fuel senders sold to certain automobile

 manufacturers in the United States and elsewhere from at least as early as March 2004 and

 continuing until at least February 2010 in violation of the Sherman Act, 15 U.S.C. § 1.

        183.    In addition to Yazaki Corporation, four executives from Yazaki Corporation (all

 Japanese nationals) – Tsuneaki Hanamura, Ryoji Kuwai, Shigeru Ogawa, and Hisamitsu Takada

 – agreed to plead guilty to their participation in a conspiracy to suppress and eliminate

 competition in the automotive parts industry by agreeing to rig bids for, and to fix, stabilize, and

 maintain the prices of automotive wire harnesses sold to certain automobile manufacturers in the

 United States and elsewhere in violation of the Sherman Act, 15 U.S.C. § 1. These four

 executives of Yazaki Corporation will serve prison time ranging from 15 months to two years.

 The two-year sentences would be the longest term of imprisonment imposed on a foreign

 national voluntarily submitting to U.S. jurisdiction for a Sherman Act antitrust violation.

        184.    On March 26, 2012, the DOJ announced that Defendant Denso Corporation

 agreed to plead guilty and pay a total of $78 million in criminal fines to a two-count criminal

 information charging Denso with: (1) participating in a combination and conspiracy with its co-




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 conspirators to suppress and eliminate competition in the automotive parts industry by agreeing

 to rig bids for, and to fix, stabilize, and maintain the prices of electronic control units sold to an

 automobile manufacturer in the United States and elsewhere from at least as early as January

 2000 and continuing until at least February 2010 in violation of the Sherman Act, 15 U.S.C. § 1;

 (2) participating in a combination and conspiracy with its co-conspirators to suppress and

 eliminate competition in the automotive parts industry by agreeing to rig bids for, and to fix,

 stabilize, and maintain the prices of heater control panels sold to an automobile manufacturer in

 the United States and elsewhere from at least as early as January 2000 and continuing until at

 least February 2010 in violation of the Sherman Act, 15 U.S.C. § 1. The “electronic control

 units” referenced herein are included within the definition of Automotive Wire Harness Systems

 alleged in this Complaint (see supra, paragraph 3).

         185.    On April 3, 2012, the DOJ announced that Defendant G.S. Electech Inc. agreed to

 plead guilty and pay a $2.75 million criminal fine to a one-count criminal information charging

 G.S. Electech Inc. with participating in a combination and conspiracy to suppress and eliminate

 competition in the automotive parts industry by agreeing to rig bids for, and to fix, stabilize, and

 maintain the prices of speed sensor wire assemblies sold to an automobile manufacturer in the

 United States and elsewhere from at least as early as January 2003 and continuing until at least

 February 2010 in violation of the Sherman Act, 15 U.S.C. § 1. The “speed sensor wire

 assemblies” referenced herein are included within the definition of Automotive Wire Harness

 Systems alleged in this Complaint (see supra, paragraph 3).

         186.    On April 23, 2012, the DOJ announced that Defendant Fujikura Ltd. has agreed to

 plead guilty and pay a $20 million criminal fine to a one-count criminal information charging

 Fujikura with participating in a combination and conspiracy with its co-conspirators to suppress




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 and eliminate competition in the automotive parts industry by agreeing to rig bids for, and to fix,

 stabilize, and maintain the prices of automotive wire harnesses and related products sold to an

 automobile manufacturer in the United States and elsewhere from at least as early as January

 2006 and continuing until at least February 2010 in violation of the Sherman Act, 15 U.S.C. § 1.

        187.     To date, Defendants that have pleaded guilty to their participation in the

 Automotive Wire Harness Systems cartel have agree to pay criminal fines totaling $770.75

 million, among the largest criminal cartels ever obtained by the DOJ.

                               CLASS ACTION ALLEGATIONS

        188.    Plaintiffs bring this action on behalf of themselves and as a class action under

 Rule 23(a) and (b)(2) of the Federal Rules of Civil Procedure, seeking equitable and injunctive

 relief on behalf of the following class (the “Nationwide Class”):

                All persons and entities that indirectly purchased or leased in the
                United States, during the Class Period, Automotive Wire Harness
                Systems, for personal use and not for resale, including the purchase
                of Automotive Wire Harness Systems as a stand-alone replacement
                product or as a component of a new motor vehicle purchased or
                leased from any Defendant or any current or former subsidiary or
                affiliate thereof, or any co-conspirator.



        189.    Plaintiffs also bring this action on behalf of themselves and as a class action under

 Rule 23(a) and (b)(3) of the Federal Rules of Civil Procedure seeking damages pursuant to the

 antitrust, unfair competition, consumer protection, and unjust enrichment laws of the states

 whose laws are identified in Paragraphs 236-276 below (“Plaintiffs’ States”). These claims are

 brought by Plaintiffs on behalf of themselves and persons and entities in Plaintiffs’ States as

 follows (the “Damages Class”):

                All persons and entities that indirectly purchased or leased in the
                Plaintiffs’ States, during the Class Period, Automotive Wire
                Harness Systems, for personal use and not for resale, including the



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                purchase of Automotive Wire Harness Systems as a stand-alone
                replacement product or as a component of a new motor vehicle
                purchased or leased from any Defendant or any current or former
                subsidiary or affiliate thereof, or any co-conspirator.



        190.    The Nationwide Class and the Damages Class are referred to herein as the

 “Classes.” Excluded from the Classes are Defendants, their parent companies, subsidiaries and

 affiliates, any co-conspirators, federal governmental entities and instrumentalities of the federal

 government, states and their subdivisions, agencies and instrumentalities, and persons who

 purchased Automotive Wire Harness Systems directly or for resale.

        191.    While Plaintiffs do not know the exact number of the members of the Classes,

 Plaintiffs believe there are (at least) thousands of members in each Class.

        192.    Common questions of law and fact exist as to all members of the Classes. This is

 particularly true given the nature of Defendants’ conspiracy, which was generally applicable to

 all the members of both Classes, thereby making appropriate relief with respect to the Classes as

 a whole. Such questions of law and fact common to the Classes include, but are not limited to:

                (a)     Whether Defendants and their co-conspirators engaged in a combination

 and conspiracy among themselves to fix, raise, maintain or stabilize the prices of Automotive

 Wire Harness Systems sold in the United States;

                (b)     The identity of the participants of the alleged conspiracy;

                (c)     The duration of the alleged conspiracy and the acts carried out by

 Defendants and their co-conspirators in furtherance of the conspiracy;

                (d)     Whether the alleged conspiracy violated the Sherman Act, as alleged in

 the First Claim for Relief;




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                  (e)    Whether the alleged conspiracy violated state antitrust and unfair

 competition law, and/or state consumer protection law, as alleged in the Second and Third

 Claims for Relief;

                  (f)    Whether Defendants unjustly enriched themselves to the detriment of the

 Plaintiffs and the members of the Classes, thereby entitling Plaintiffs and the members of the

 Classes to disgorgement of all benefits derived by Defendants, as alleged in the Fourth Claim for

 Relief;

                  (g)    Whether the conduct of Defendants and their co-conspirators, as alleged in

 this Complaint, caused injury to the business or property of Plaintiffs and the members of the

 Classes;

                  (h)    The effect of the alleged conspiracy on the prices of Automotive Wire

 Harness Systems sold in the United States during the Class Period;

                  (i)    Whether any of the Plaintiffs knew, or had any reason to know, of the

 conspiracy engaged in by Defendants;

                  (j)    Whether the Defendants and their co-conspirators fraudulently concealed

 the conspiracy’s existence from the Plaintiffs and the members of the Classes;

                  (k)    The appropriate injunctive and related equitable relief for the Nationwide

 Class; and

                  (l)    The appropriate class-wide measure of damages for the Damages Class.

           193.   Plaintiffs’ claims are typical of the claims of the members of the Classes, and

 Plaintiffs will fairly and adequately protect the interests of the Classes. Plaintiffs and all

 members of the Classes are similarly affected by Defendants’ wrongful conduct in that they paid




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 artificially inflated prices for Automotive Wire Harnesses purchased indirectly from Defendants

 or their co-conspirators.

        194.    Plaintiffs’ claims arise out of the same common course of conduct giving rise to

 the claims of the other members of the Classes. Plaintiffs’ interests are coincident with, and not

 antagonistic to, those of the other members of the Classes. Plaintiffs are represented by counsel

 who are competent and experienced in the prosecution of antitrust and class action litigation.

        195.    The questions of law and fact common to the members of the Classes

 predominate over any questions affecting only individual members, including legal and factual

 issues relating to liability and damages.

        196.    Class action treatment is a superior method for the fair and efficient adjudication

 of the controversy, in that, among other things, such treatment will permit a large number of

 similarly situated persons to prosecute their common claims in a single forum simultaneously,

 efficiently and without the unnecessary duplication of evidence, effort and expense that

 numerous individual actions would engender. The benefits of proceeding through the class

 mechanism, including providing injured persons or entities with a method for obtaining redress

 for claims that it might not be practicable to pursue individually, substantially outweigh any

 difficulties that may arise in management of this class action.

        197.    The prosecution of separate actions by individual members of the Classes would

 create a risk of inconsistent or varying adjudications, establishing incompatible standards of

 conduct for Defendants.

           PLAINTIFFS AND THE CLASSES SUFFERED ANTITRUST INJURY

        198.    Defendants’ price-fixing conspiracy had the following effects, among others:

                (a)     Price competition has been restrained or eliminated with respect to

 Automotive Wire Harness Systems;


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                 (b)     The prices of Automotive Wire Harness Systems have been fixed, raised,

 maintained, or stabilized at artificially inflated levels; and

                 (c)     Indirect purchasers of Automotive Wire Harness Systems have been

 deprived of free and open competition.

         199.    During the Class Period, Plaintiffs and the members of the Classes paid supra-

 competitive prices for Automotive Wire Harness Systems.

         200.    The markets for Automotive Wire Harness Systems and the market for cars are

 inextricably linked and intertwined because the market for Automotive Wire Harness Systems

 exists to serve the vehicle market. Without the vehicles, the Automotive Wire Harness Systems

 have little to no value because they have no independent utility. Indeed, the demand for vehicles

 creates the demand for Automotive Wire Harness Systems. As Lear stated in its 2010 Annual

 Report: “Our sales are driven by the number of vehicles produced by the automotive

 manufacturers, which is ultimately dependent on consumer and fleet demand for automotive

 vehicles.”

         201.    Automotive Wire Harness Systems are identifiable, discrete physical products that

 remain essentially unchanged when incorporated into a vehicle. As a result, Automotive Wire

 Harness Systems follow a traceable physical chain of distribution from the Defendants to

 Plaintiffs and the members of the Classes, and any costs attributable to Automotive Wire

 Harness Systems can be traced through the chain of distribution to Plaintiffs and the members of

 the Classes.

         202.    By reason of the alleged violations of the antitrust laws, Plaintiffs and the

 members of the Classes have sustained injury to their businesses or property, having paid higher

 prices for Automotive Wire Harness Systems than they would have paid in the absence of




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 Defendants’ illegal contract, combination, or conspiracy, and, as a result, have suffered damages

 in an amount presently undetermined. This is an antitrust injury of the type that the antitrust

 laws were meant to punish and prevent.


   PLAINTIFFS’ CLAIMS ARE NOT BARRED BY THE STATUTE OF LIMITATIONS

         A.      The Statute of Limitations Did Not Begin to Run Because Plaintiffs Did Not
                 and Could Not Discover Their Claims

         203.    Plaintiffs repeat and reallege the allegations set forth above.

         204.    Plaintiffs and the members of the Classes had no knowledge of the combination

 or conspiracy alleged herein, or of facts sufficient to place them on inquiry notice of the claims

 set forth herein, until shortly before the initial complaint was filed in this multi-district litigation.

 Plaintiffs and the members of the Classes did not discover, and could not have discovered

 through the exercise of reasonable diligence, the existence of the conspiracy alleged herein until

 September 29, 2011, at the earliest, the date that the DOJ announced that Defendant Furukawa

 Electric had agreed to plead guilty for its role in the criminal price-fixing and bid-rigging

 conspiracy alleged herein.

         205.    Plaintiffs and the members of the Classes are consumers who purchased or leased

 automobiles or purchased Automobile Wire Harness Systems to replace or repair damaged or

 defective Wire Harness Systems in their automobiles. They had no direct contact or interaction

 with any of the Defendants in this case and had no means from which they could have

 discovered the combination and conspiracy described in this Complaint before the DOJ’s

 September 29, 2011 announcement alleged above.

         206.    No information in the public domain was available to the Plaintiffs and the

 members of the Classes prior to the DOJ’s announcement on September 29, 2011 that revealed

 sufficient information to suggest that any one of the Defendants was involved in a criminal


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 conspiracy to price-fix and rig bids for Automotive Wire Harness Systems. Plaintiffs and the

 members of the Classes had no means of obtaining any facts or information concerning any

 aspect of Defendants’ dealings with OEMS or other direct purchasers, much less the fact that

 they had engaged in the combination and conspiracy alleged herein.

        207.    For these reasons, the statute of limitations as to Plaintiffs and the Classes’ claims

 did not begin to run, and has been tolled with respect to the claims that Plaintiffs and the

 members of the Classes have alleged in this Complaint.

        B.      Fraudulent Concealment Tolled the Statute of Limitations

        208.    In the alternative, application of the doctrine of fraudulent concealment tolled the

 statute of limitations on the claims asserted herein by Plaintiffs and the Classes. Plaintiffs and

 the members of the Classes did not know and could not have known of the existence of the

 conspiracy and unlawful combination alleged herein until September 29, 2011 at the earliest, the

 date that the DOJ announced that Defendant Furukawa Electric had agreed to plead guilty for its

 role in the criminal price-fixing and bid-rigging conspiracy alleged herein.

        209.    Before that time, Plaintiffs and members of the Classes were unaware of

 Defendants’ unlawful conduct, and did not know before then that that they were paying supra-

 competitive prices for Automotive Wire Harness Systems throughout the United States during

 the Class Period. No information, actual or constructive, was ever made available to Plaintiffs

 and the members of the Classes that even hinted to Plaintiffs that they were being injured by

 Defendants’ unlawful conduct.

        210.    The affirmative acts of the Defendants alleged herein, including acts in

 furtherance of the conspiracy, were wrongfully concealed and carried out in a manner that

 precluded detection.




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        211.    By its very nature, Defendants’ anti-competitive conspiracy and unlawful

 combinations were inherently self-concealing. Automotive Wire Harness Systems are not

 exempt from antitrust regulation and, thus, Plaintiffs and the members of the Classes reasonably

 considered it to be a competitive industry. Defendants met and communicated in secret and

 agreed to keep the facts about their collusive conduct from being discovered by any member of

 the public or by the OEMs and other direct purchasers with whom they did business.

        212.    For instance, the DOJ charged Defendants Fujikura Ltd., Furukawa Electric, G.S.

 Electech, Inc. and Yazaki Corporation with, among other unlawful acts, “employing measures to

 keep their conduct secret, including but not limited to using code names and meeting at private

 residences or remote locations.” These corporate Defendants have since pleaded guilty to

 charges levied against them by the DOJ.

        213.    In addition, the DOJ charged individual corporate officers of certain Defendants

 with using code names and engaging in secret, conspiratorial meetings to hide Defendants’

 conspiracy from the public and competition authorities. To date, Junichi Funo from Furukawa

 and Tsuneaki Hanamura, Ryoji Kawai, Shigeru Ogawa, and Hisamitsu Takada from Yazaki

 Corporation have all pleaded guilty to charges levied against them by the DOJ. Accordingly, a

 reasonable person under the circumstances would not have been alerted to investigate the

 lawfulness of Defendants’ Automotive Wire Harness Systems prices.

        214.    Plaintiffs and the members of the Classes could not have discovered the alleged

 combination or conspiracy at an earlier date by the exercise of reasonable diligence because of

 the deceptive practices and techniques of secrecy employed by the Defendants and their co-

 conspirators to avoid detection of, and fraudulently conceal, their conduct.




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        215.    Throughout the course of the conspiracy, the Defendants met and communicated

 in secret in order to conceal their conspiracy from the public and avoid detection thereof. Above

 and beyond their acts in furtherance of the conspiracy, such as acts of bid rigging, Defendants

 engaged in surreptitious activity such as using code names and meeting at private residences or

 remote locations. The exact dates and times of these meetings are within the knowledge of the

 Defendants, including those Defendants and executives of those Defendants who have pleaded

 guilty in this Court to criminal violations of the Sherman Act. These Defendants have not

 provided any documents and information about these admitted acts of concealment to Plaintiffs

 or the members of the Classes.

        216.    Because the alleged conspiracy was both self-concealing and affirmatively

 concealed by Defendants and their co-conspirators, Plaintiffs and the members of the Classes had

 no knowledge of the alleged conspiracy, or of any facts or information that would have caused a

 reasonably diligent person to investigate whether a conspiracy existed, until September 29, 2011,

 at the earliest, the date that the DOJ announced that Defendant Furukawa Electric had agreed to

 plead guilty for its role in the criminal price-fixing and bid-rigging conspiracy alleged herein.

        217.    For these reasons, the statute of limitations applicable to Plaintiffs’ and the

 Classes’ claims was tolled and did not begin to run until September 29, 2011.

                                 FIRST CLAIM FOR RELIEF
                            Violation of Section 1 of the Sherman Act
                        (on behalf of Plaintiffs and the Nationwide Class)

        218.    Plaintiffs incorporate by reference the allegations in the preceding paragraphs.

        219.    Defendants and unnamed conspirators entered into and engaged in a contract,

 combination, or conspiracy in unreasonable restraint of trade in violation of Section 1 of the

 Sherman Act (15 U.S.C. § 1).




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           220.   The acts done by each of the Defendants as part of, and in furtherance of, their

 contract, combination, or conspiracy were authorized, ordered, or done by their officers, agents,

 employees, or representatives while actively engaged in the management of Defendants’ affairs.

           221.   At least as early as January 2000, and continuing through the filing of this

 Complaint, the exact dates being unknown to Plaintiffs, Defendants and their co-conspirators

 entered into a continuing agreement, understanding and conspiracy in restraint of trade to

 artificially fix, raise, stabilize, and control prices for Automotive Wire Harness Systems, thereby

 creating anticompetitive effects.

           222.   The anti-competitive acts were intentionally directed at the United States market

 for Automotive Wire Harness Systems and had a substantial and foreseeable effect on interstate

 commerce by raising and fixing prices for Automotive Wire Harness Systems throughout the

 United States.

           223.   The conspiratorial acts and combinations have caused unreasonable restraints in

 the market for Automotive Wire Harness Systems.

           224.   As a result of Defendants’ unlawful conduct, Plaintiffs and other similarly

 situated indirect purchasers in the Nationwide Class who purchased Automotive Wire Harness

 Systems have been harmed by being forced to pay inflated, supra-competitive prices for

 Automotive Wire Harness Systems.

           225.   In formulating and carrying out the alleged agreement, understanding and

 conspiracy, Defendants and their co-conspirators did those things that they combined and

 conspired to do, including but not limited to the acts, practices and course of conduct set forth

 herein.

           226.   Defendants’ conspiracy had the following effects, among others:




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                (a)        Price competition in the market for Automotive Wire Harness Systems has

 been restrained, suppressed, and/or eliminated in the United States;

                (b)        Prices for Automotive Wire Harness Systems sold by Defendants and their

 co-conspirators have been fixed, raised, maintained, and stabilized at artificially high, non-

 competitive levels throughout the United States; and

                (c)        Plaintiffs and members of the Nationwide Class who purchased

 Automotive Wire Harness Systems indirectly from Defendants and their co-conspirators have

 been deprived of the benefits of free and open competition.

        227.    Plaintiffs and members of the Nationwide Class have been injured and will

 continue to be injured in their business and property by paying more for Automotive Wire

 Harness Systems purchased indirectly from Defendants and the co-conspirators than they would

 have paid and will pay in the absence of the conspiracy.

        228.    The alleged contract, combination, or conspiracy is a per se violation of the

 federal antitrust laws.

        229.    Plaintiffs and members of the Nationwide Class are entitled to an injunction

 against Defendants, preventing and restraining the violations alleged herein.

                                  SECOND CLAIM FOR RELIEF
                                 Violation of State Antitrust Statutes
                            (on behalf of Plaintiffs and the Damages Class)

        230.    Plaintiffs incorporate by reference the allegations in the preceding paragraphs.

        231.    From as early as January 2000 until at least the filing of this Complaint,

 Defendants and their co-conspirators engaged in a continuing contract, combination or

 conspiracy with respect to the sale of Automotive Wire Harness Systems in unreasonable

 restraint of trade and commerce and in violation of the various state antitrust and other statutes

 set forth below.


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         232.    The contract, combination, or conspiracy consisted of an agreement among the

 Defendants and their co-conspirators to fix, raise, inflate, stabilize, and/or maintain at artificially

 supra-competitive prices for Automotive Wire Harness Systems and to allocate customers for

 Automotive Wire Harness Systems in the United States.

         233.    In formulating and effectuating this conspiracy, Defendants and their co-

 conspirators performed acts in furtherance of the combination and conspiracy, including:

                 (a)     participating in meetings and conversations among themselves in the

 United States and elsewhere during which they agreed to price Automotive Wire Harness

 Systems at certain levels, and otherwise to fix, increase, inflate, maintain, or stabilize effective

 prices paid by Plaintiffs and members of the Damages Class with respect to Automotive Wire

 Harness Systems sold in the United States;

                 (b)     allocating customers and markets for Automotive Wire Harness Systems

 in the United States in furtherance of their agreements; and

                 (c)     participating in meetings and conversations among themselves in the

 United States and elsewhere to implement, adhere to, and police the unlawful agreements they

 reached.

         234.    Defendants and their co-conspirators engaged in the actions described above for

 the purpose of carrying out their unlawful agreements to fix, maintain, decrease, or stabilize

 prices and to allocate customers with respect to Automotive Wire Harness Systems.

         235.    Defendants’ anticompetitive acts described above were knowing, willful and

 constitute violations or flagrant violations of the following state antitrust statutes.

         236.    Defendants have entered into an unlawful agreement in restraint of trade in

 violation of the Arizona Revised Statutes, §§ 44-1401, et seq.




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                 (a)    Defendants’ combinations or conspiracies had the following effects: (1)

 Automotive Wire Harness Systems price competition was restrained, suppressed, and eliminated

 throughout Arizona; (2) Automotive Wire Harness Systems prices were raised, fixed, maintained

 and stabilized at artificially high levels throughout Arizona; (3) Plaintiffs and members of the

 Damages Class were deprived of free and open competition; and (4) Plaintiffs and members of

 the Damages Class paid supracompetitive, artificially inflated prices for Automotive Wire

 Harness Systems.

                 (b)    During the Class Period, Defendants’ illegal conduct substantially affected

 Arizona commerce.

                 (c)    As a direct and proximate result of defendants’ unlawful conduct,

 Plaintiffs and members of the Damages Class have been injured in their business and property

 and are threatened with further injury.

                 (d)    By reason of the foregoing, Defendants entered into agreements in

 restraint of trade in violation of Ariz. Rev. Stat. §§ 44-1401, et seq. Accordingly, Plaintiffs and

 members of the Damages Class seek all forms of relief available under Ariz. Rev. Stat. §§ 44-

 1401, et seq.

        237.     Defendants have entered into an unlawful agreement in restraint of trade in

 violation of the California Business and Professions Code, §§ 16700, et seq.

                 (a)    During the Class Period, Defendants and their co-conspirators entered into

 and engaged in a continuing unlawful trust in restraint of the trade and commerce described

 above in violation of Section 16720, California Business and Professions Code. Defendants, and

 each of them, have acted in violation of Section 16720 to fix, raise, stabilize, and maintain prices

 of, and allocate markets for, Automotive Wire Harness Systems at supracompetitive levels.




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                (b)     The aforesaid violations of Section 16720, California Business and

 Professions Code, consisted, without limitation, of a continuing unlawful trust and concert of

 action among the defendants and their co-conspirators, the substantial terms of which were to fix,

 raise, maintain, and stabilize the prices of, and to allocate markets for, Automotive Wire Harness

 Systems.

                (c)     For the purpose of forming and effectuating the unlawful trust, the

 Defendants and their co-conspirators have done those things which they combined and conspired

 to do, including but in any way limited to the acts, practices and course of conduct set forth

 above and the following: (1) Fixing, raising, stabilizing, and pegging the price of Automotive

 Wire Harness Systems; and (2) Allocating among themselves the production of Automotive Wire

 Harness Systems.

                (d)     The combination and conspiracy alleged herein has had, inter alia, the

 following effects: (1) Price competition in the sale of Automotive Wire Harness Systems has

 been restrained, suppressed, and/or eliminated in the State of California; (2) Prices for

 Automotive Wire Harness Systems sold by Defendants and their co-conspirators have been

 fixed, raised, stabilized, and pegged at artificially high, non-competitive levels in the State of

 California and throughout the United States; and (3) Those who purchased Automotive Wire

 Harness Systems directly or indirectly from Defendants and their co-conspirators have been

 deprived of the benefit of free and open competition.

                (e)     As a direct and proximate result of Defendants’ unlawful conduct,

 Plaintiffs and members of the Damages Class have been injured in their business and property in

 that they paid more for Automotive Wire Harness Systems than they otherwise would have paid

 in the absence of Defendants’ unlawful conduct. As a result of defendants’ violation of Section




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 16720 of the California Business and Professions Code, Plaintiffs and members of the Damages

 Class seek treble damages and their cost of suit, including a reasonable attorney’s fee, pursuant

 to Section 16750(a) of the California Business and Professions Code.

        238.    Defendants have entered into an unlawful agreement in restraint of trade in

 violation of the District of Columbia Code Annotated §§ 28-4501, et seq.

                (a)     Defendants’ combinations or conspiracies had the following effects: (1)

 Automotive Wire Harness Systems price competition was restrained, suppressed, and eliminated

 throughout the District of Columbia; (2) Automotive Wire Harness Systems prices were raised,

 fixed, maintained and stabilized at artificially high levels throughout the District of Columbia;

 (3) Plaintiffs and members of the Damages Class were deprived of free and open competition;

 and (4) Plaintiffs and members of the Damages Class paid supracompetitive, artificially inflated

 prices for Automotive Wire Harness Systems.

                (b)     During the Class Period, Defendants’ illegal conduct substantially affected

 District of Columbia commerce.

                (c)     As a direct and proximate result of defendants’ unlawful conduct,

 Plaintiffs and members of the Damages Class have been injured in their business and property

 and are threatened with further injury.

                (d)     By reason of the foregoing, Defendants have entered into agreements in

 restraint of trade in violation of District of Columbia Code Ann. §§ 28-4501, et seq.

 Accordingly, Plaintiffs and members of the Damages Class seek all forms of relief available

 under District of Columbia Code Ann. §§ 28-4501, et seq.

        239.    Defendants have entered into an unlawful agreement in restraint of trade in

 violation of the Iowa Code §§ 553.1, et seq.




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                (a)     Defendants’ combinations or conspiracies had the following effects: (1)

 Automotive Wire Harness Systems price competition was restrained, suppressed, and eliminated

 throughout Iowa; (2) Automotive Wire Harness Systems prices were raised, fixed, maintained

 and stabilized at artificially high levels throughout Iowa; (3) Plaintiffs and members of the

 Damages Class were deprived of free and open competition; and (4) Plaintiffs and members of

 the Damages Class paid supracompetitive, artificially inflated prices for Automotive Wire

 Harness Systems.

                (b)     During the Class Period, Defendants’ illegal conduct substantially affected

 Iowa commerce.

                (c)     As a direct and proximate result of Defendants’ unlawful conduct,

 Plaintiffs and members of the Damages Class have been injured in their business and property

 and are threatened with further injury.

                (d)     By reason of the foregoing, Defendants have entered into agreements in

 restraint of trade in violation of Iowa Code §§ 553.1, et seq. Accordingly, Plaintiffs and

 members of the Damages Class seek all forms of relief available under Iowa Code §§ 553.1, et

 seq..

         240.   Defendants have entered into an unlawful agreement in restraint of trade in

 violation of the Kansas Statutes Annotated, §§ 50-101, et seq.

                (a)     Defendants’ combinations or conspiracies had the following effects: (1)

 Automotive Wire Harness Systems price competition was restrained, suppressed, and eliminated

 throughout Kansas; (2) Automotive Wire Harness Systems prices were raised, fixed, maintained

 and stabilized at artificially high levels throughout Kansas; (3) Plaintiffs and members of the

 Damages Class were deprived of free and open competition; and (4) Plaintiffs and members of




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 the Damages Class paid supracompetitive, artificially inflated prices for Automotive Wire

 Harness Systems.

                (b)     During the Class Period, Defendants’ illegal conduct substantially affected

 Kansas commerce.

                (c)     As a direct and proximate result of defendants’ unlawful conduct,

 Plaintiffs and members of the Damages Class have been injured in their business and property

 and are threatened with further injury.

                (d)     By reason of the foregoing, Defendants have entered into agreements in

 restraint of trade in violation of Kansas Stat. Ann. §§ 50-101, et seq. Accordingly, Plaintiffs and

 members of the Damages Class seek all forms of relief available under Kansas Stat. Ann. §§ 50-

 101, et seq.

        241.    Defendants have entered into an unlawful agreement in restraint of trade in

 violation of the Maine Revised Statutes, Maine Rev. Stat. Ann. 10, §§ 1101, et seq.

                (a)     Defendants’ combinations or conspiracies had the following effects: (1)

 Automotive Wire Harness Systems price competition was restrained, suppressed, and eliminated

 throughout Maine; (2) Automotive Wire Harness Systems prices were raised, fixed, maintained

 and stabilized at artificially high levels throughout Maine; (3) Plaintiffs and members of the

 Damages Class were deprived of free and open competition; and (4) Plaintiffs and members of

 the Damages Class paid supracompetitive, artificially inflated prices for Automotive Wire

 Harness Systems.

                (b)     During the Class Period, Defendants’ illegal conduct substantially affected

 Maine commerce.




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                (c)     As a direct and proximate result of Defendants’ unlawful conduct,

 Plaintiffs and members of the Damages Class have been injured in their business and property

 and are threatened with further injury.

                (d)     By reason of the foregoing, defendants have entered into agreements in

 restraint of trade in violation of Maine Rev. Stat. Ann. 10, §§ 1101, et seq. Accordingly,

 Plaintiffs and members of the Damages Class seek all relief available under Maine Rev. Stat.

 Ann. 10, §§ 1101, et seq.

        242.    Defendants have entered into an unlawful agreement in restraint of trade in

 violation of the Massachusetts Antitrust Act, Mass. Gen. Laws Ann. 93 §§ 1, et seq.

                (a)     Defendants’ combinations or conspiracies had the following effects: (1)

 Automotive Wire Harness Systems price competition was restrained, suppressed, and eliminated

 throughout Massachusetts; (2) Automotive Wire Harness Systems prices were raised, fixed,

 maintained and stabilized at artificially high levels throughout Massachusetts; (3) Plaintiffs and

 members of the Damages Class were deprived of free and open competition; and (4) Plaintiffs

 and members of the Damages Class paid supracompetitive, artificially inflated prices for

 Automotive Wire Harness Systems.

                (b)     During the Class Period, Defendants’ illegal conduct substantially affected

 Massachusetts commerce.

                (c)     As a direct and proximate result of Defendants’ unlawful conduct,

 Plaintiffs and members of the Damages Class have been injured in their business and property

 and are threatened with further injury.

                (d)     By reason of the foregoing, Defendants have entered into agreements in

 restraint of trade in violation of Mass. Gen. Laws Ann. 93 §§ 1, et seq. Accordingly, Plaintiffs




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 and members of the Damages Class seek all relief available under Mass. Gen. Laws Ann. 93 §§

 1, et seq.

         243.   Defendants have entered into an unlawful agreement in restraint of trade in

 violation of the Michigan Compiled Laws Annotated §§ 445.771, et seq.

                (a)     Defendants’ combinations or conspiracies had the following effects: (1)

 Automotive Wire Harness Systems price competition was restrained, suppressed, and eliminated

 throughout Michigan; (2) Automotive Wire Harness Systems prices were raised, fixed,

 maintained and stabilized at artificially high levels throughout Michigan; (3) Plaintiffs and

 members of the Damages Class were deprived of free and open competition; and (4) Plaintiffs

 and members of the Damages Class paid supracompetitive, artificially inflated prices for

 Automotive Wire Harness Systems.

                (b)     During the Class Period, Defendants’ illegal conduct substantially affected

 Michigan commerce.

                (c)     As a direct and proximate result of defendants’ unlawful conduct,

 Plaintiffs and members of the Damages Class have been injured in their business and property

 and are threatened with further injury.

                (d)     By reason of the foregoing, defendants have entered into agreements in

 restraint of trade in violation of Michigan Comp. Laws Ann. §§ 445.771, et seq. Accordingly,

 Plaintiffs and members of the Damages Class seek all relief available under Michigan Comp.

 Laws Ann. §§ 445.771, et seq.

         244.   Defendants have entered into an unlawful agreement in restraint of trade in

 violation of the Minnesota Annotated Statutes §§ 325D.49, et seq.




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                (a)     Defendants’ combinations or conspiracies had the following effects: (1)

 Automotive Wire Harness Systems price competition was restrained, suppressed, and eliminated

 throughout Minnesota; (2) Automotive Wire Harness Systems prices were raised, fixed,

 maintained and stabilized at artificially high levels throughout Minnesota; (3) Plaintiffs and

 members of the Damages Class were deprived of free and open competition; and (4) Plaintiffs

 and members of the Damages Class paid supracompetitive, artificially inflated prices for

 Automotive Wire Harness Systems.

                (b)     During the Class Period, Defendants’ illegal conduct substantially affected

 Minnesota commerce.

                (c)     As a direct and proximate result of defendants’ unlawful conduct,

 Plaintiffs and members of the Damages Class have been injured in their business and property

 and are threatened with further injury.

                (d)     By reason of the foregoing, defendants have entered into agreements in

 restraint of trade in violation of Minnesota Stat. §§ 325D.49, et seq. Accordingly, Plaintiffs and

 members of the Damages Class seek all relief available under Minnesota Stat. §§ 325D.49, et

 seq.

        245.    Defendants have entered into an unlawful agreement in restraint of trade in

 violation of the Mississippi Code Annotated §§ 75-21-1, et seq.

                (a)     Defendants’ combinations or conspiracies had the following effects: (1)

 Automotive Wire Harness Systems price competition was restrained, suppressed, and eliminated

 throughout Mississippi; (2) Automotive Wire Harness Systems prices were raised, fixed,

 maintained and stabilized at artificially high levels throughout Mississippi; (3) Plaintiffs and

 members of the Damages Class were deprived of free and open competition; and (4) Plaintiffs




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 and members of the Damages Class paid supracompetitive, artificially inflated prices for

 Automotive Wire Harness Systems.

                 (b)    During the Class Period, Defendants’ illegal conduct substantially affected

 Mississippi commerce.

                 (c)    As a direct and proximate result of Defendants’ unlawful conduct,

 Plaintiffs and members of the Damages Class have been injured in their business and property

 and are threatened with further injury.

                 (d)    By reason of the foregoing, defendants have entered into agreements in

 restraint of trade in violation of Mississippi Code Ann. § 75-21-1, et seq. Accordingly, Plaintiffs

 and members of the Damages Class seek all relief available under Mississippi Code Ann. § 75-

 21-1, et seq.

        246.     Defendants have entered into an unlawful agreement in restraint of trade in

 violation of the Nebraska Revised Statutes §§ 59-801, et seq.

                 (a)    Defendants’ combinations or conspiracies had the following effects: (1)

 Automotive Wire Harness Systems price competition was restrained, suppressed, and eliminated

 throughout Nebraska; (2) Automotive Wire Harness Systems prices were raised, fixed,

 maintained and stabilized at artificially high levels throughout Nebraska; (3) Plaintiffs and

 members of the Damages Class were deprived of free and open competition; and (4) Plaintiffs

 and members of the Damages Class paid supracompetitive, artificially inflated prices for

 Automotive Wire Harness Systems.

                 (b)    During the Class Period, Defendants’ illegal conduct substantially affected

 Nebraska commerce.




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                (c)     As a direct and proximate result of defendants’ unlawful conduct,

 Plaintiffs and members of the Damages Class have been injured in their business and property

 and are threatened with further injury.

                (d)     By reason of the foregoing, Defendants have entered into agreements in

 restraint of trade in violation of Nebraska Revised Statutes §§ 59-801, et seq. Accordingly,

 Plaintiffs and members of the Damages Class seek all relief available under Nebraska Revised

 Statutes §§ 59-801, et seq.

        247.    Defendants have entered into an unlawful agreement in restraint of trade in

 violation of the Nevada Revised Statutes Annotated §§ 598A.010, et seq.

                (a)     Defendants’ combinations or conspiracies had the following effects: (1)

 Automotive Wire Harness Systems price competition was restrained, suppressed, and eliminated

 throughout Nevada; (2) Automotive Wire Harness Systems prices were raised, fixed, maintained

 and stabilized at artificially high levels throughout Nevada; (3) Plaintiffs and members of the

 Damages Class were deprived of free and open competition; and (4) Plaintiffs and members of

 the Damages Class paid supracompetitive, artificially inflated prices for Automotive Wire

 Harness Systems.

                (b)     During the Class Period, Defendants’ illegal conduct substantially affected

 Nevada commerce.

                (c)     As a direct and proximate result of defendants’ unlawful conduct,

 Plaintiffs and members of the Damages Class have been injured in their business and property

 and are threatened with further injury.

                (d)     By reason of the foregoing, Defendants have entered into agreements in

 restraint of trade in violation of Nevada Rev. Stat. Ann. §§ 598A, et seq. Accordingly, Plaintiffs




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 and members of the Damages Class seek all relief available under Nevada Rev. Stat. Ann. §§

 598A, et seq.

        248.     Defendants have entered into an unlawful agreement in restraint of trade in

 violation of the New Hampshire Revised Statutes §§ 356:1, et seq.

                 (a)    Defendants’ combinations or conspiracies had the following effects: (1)

 Automotive Wire Harness Systems price competition was restrained, suppressed, and eliminated

 throughout New Hampshire; (2) Automotive Wire Harness Systems prices were raised, fixed,

 maintained and stabilized at artificially high levels throughout New Hampshire; (3) Plaintiffs and

 members of the Damages Class were deprived of free and open competition; and (4) Plaintiffs

 and members of the Damages Class paid supracompetitive, artificially inflated prices for

 Automotive Wire Harness Systems.

                 (b)    During the Class Period, Defendants’ illegal conduct substantially affected

 New Hampshire commerce.

                 (c)    As a direct and proximate result of defendants’ unlawful conduct,

 Plaintiffs and members of the Damages Class have been injured in their business and property

 and are threatened with further injury.

                 (d)    By reason of the foregoing, Defendants have entered into agreements in

 restraint of trade in violation of New Hampshire Revised Statutes §§ 356:1, et seq. Accordingly,

 Plaintiffs and members of the Damages Class seek all relief available under New Hampshire

 Revised Statutes §§ 356:1, et seq.

        249.     Defendants have entered into an unlawful agreement in restraint of trade in

 violation of the New Mexico Statutes Annotated §§ 57-1-1, et seq.




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                (a)       Defendants’ combinations or conspiracies had the following effects: (1)

 Automotive Wire Harness Systems price competition was restrained, suppressed, and eliminated

 throughout New Mexico; (2) Automotive Wire Harness Systems prices were raised, fixed,

 maintained and stabilized at artificially high levels throughout New Mexico; (3) Plaintiffs and

 members of the Damages Class were deprived of free and open competition; and (4) Plaintiffs

 and members of the Damages Class paid supracompetitive, artificially inflated prices for

 Automotive Wire Harness Systems.

                (b)       During the Class Period, Defendants’ illegal conduct substantially affected

 New Mexico commerce.

                (c)       As a direct and proximate result of Defendants’ unlawful conduct,

 Plaintiffs and members of the Damages Class have been injured in their business and property

 and are threatened with further injury.

                (d)       By reason of the foregoing, Defendants have entered into agreements in

 restraint of trade in violation of New Mexico Stat. Ann. §§ 57-1-1, et seq. Accordingly,

 Plaintiffs and members of the Damages Class seek all relief available under New Mexico Stat.

 Ann.§§ 57-1-1, et seq.

        250.    Defendants have entered into an unlawful agreement in restraint of trade in

 violation of the New York General Business Laws §§ 340, et seq.

                (a)       Defendants’ combinations or conspiracies had the following effects: (1)

 Automotive Wire Harness Systems price competition was restrained, suppressed, and eliminated

 throughout New York; (2) Automotive Wire Harness Systems prices were raised, fixed,

 maintained and stabilized at artificially high levels throughout New York; (3) Plaintiffs and

 members of the Damages Class were deprived of free and open competition; and (4) Plaintiffs




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 and members of the Damages Class paid supracompetitive, artificially inflated prices for

 Automotive Wire Harness Systems when they purchased vehicles containing Automotive Wire

 Harness Systems, or purchased products that were otherwise of lower quality, than would have

 been absent the conspirators illegal acts, or were unable to purchase products that they would

 have otherwise have purchased absent the illegal conduct.

                (b)     During the Class Period, Defendants’ illegal conduct substantially affected

 New York commerce.

                (c)     As a direct and proximate result of defendants’ unlawful conduct,

 Plaintiffs and members of the Damages Class have been injured in their business and property

 and are threatened with further injury.

                (d)     By reason of the foregoing, defendants have entered into agreements in

 restraint of trade in violation of the New York Donnelly Act, §§ 340, et seq. The conduct set

 forth above is a per se violation of the Act. Accordingly, Plaintiffs and members of the Damages

 Class seek all relief available under New York Gen. Bus. Law §§ 340, et seq.

        251.    Defendants have entered into an unlawful agreement in restraint of trade in

 violation of the North Carolina General Statutes §§ 75-1, et seq.

                (a)     Defendants’ combinations or conspiracies had the following effects: (1)

 Automotive Wire Harness Systems price competition was restrained, suppressed, and eliminated

 throughout North Carolina; (2) Automotive Wire Harness Systems prices were raised, fixed,

 maintained and stabilized at artificially high levels throughout North Carolina; (3) Plaintiffs and

 members of the Damages Class were deprived of free and open competition; and (4) Plaintiffs

 and members of the Damages Class paid supracompetitive, artificially inflated prices for

 Automotive Wire Harness Systems.




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                 (b)       During the Class Period, Defendants’ illegal conduct substantially affected

 North Carolina commerce.

                 (c)       As a direct and proximate result of Defendants’ unlawful conduct,

 Plaintiffs and members of the Damages Class have been injured in their business and property

 and are threatened with further injury.

                 (d)       By reason of the foregoing, Defendants have entered into agreements in

 restraint of trade in violation of North Carolina Gen. Stat. §§ 75-1, et seq. Accordingly,

 Plaintiffs and members of the Damages Class seek all relief available under North Carolina Gen.

 Stat. §§ 75-1, et. seq.

         252.    Defendants have entered into an unlawful agreement in restraint of trade in

 violation of the North Dakota Century Code §§ 51-08.1-01, et seq.

                 (a)       Defendants’ combinations or conspiracies had the following effects: (1)

 Automotive Wire Harness Systems price competition was restrained, suppressed, and eliminated

 throughout North Dakota; (2) Automotive Wire Harness Systems prices were raised, fixed,

 maintained and stabilized at artificially high levels throughout North Dakota; (3) Plaintiffs and

 members of the Damages Class were deprived of free and open competition; and (4) Plaintiffs

 and members of the Damages Class paid supracompetitive, artificially inflated prices for

 Automotive Wire Harness Systems.

                 (b)       During the Class Period, defendants’ illegal conduct had a substantial

 effect on North Dakota commerce.

                 (c)       As a direct and proximate result of Defendants’ unlawful conduct,

 Plaintiffs and members of the Damages Class have been injured in their business and property

 and are threatened with further injury.




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                (d)     By reason of the foregoing, Defendants have entered into agreements in

 restraint of trade in violation of North Dakota Cent. Code §§ 51-08.1-01, et seq. Accordingly,

 Plaintiffs and members of the Damages Class seek all relief available under North Dakota Cent.

 Code §§ 51-08.1-01, et seq.

        253.    Defendants have entered into an unlawful agreement in restraint of trade in

 violation of the Oregon Revised Statutes §§ 646.705, et seq.

                (a)     Defendants’ combinations or conspiracies had the following effects: (1)

 Automotive Wire Harness Systems price competition was restrained, suppressed, and eliminated

 throughout Oregon; (2) Automotive Wire Harness Systems prices were raised, fixed, maintained

 and stabilized at artificially high levels throughout Oregon; (3) Plaintiffs and members of the

 Damages Class were deprived of free and open competition; and (4) Plaintiffs and members of

 the Damages Class paid supracompetitive, artificially inflated prices for Automotive Wire

 Harness Systems.

                (b)     During the Class Period, Defendants’ illegal conduct had a substantial

 effect on Oregon commerce.

                (c)     As a direct and proximate result of Defendants’ unlawful conduct,

 Plaintiffs and members of the Damages Class have been injured in their business and property

 and are threatened with further injury.

                (d)     By reason of the foregoing, Defendants have entered into agreements in

 restraint of trade in violation of S Oregon Revised Statutes §§ 646.705, et seq. Accordingly,

 Plaintiffs and members of the Damages Class seek all relief available under Oregon Revised

 Statutes §§ 646.705, et seq.




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        254.    Defendants have entered into an unlawful agreement in restraint of trade in

 violation of the South Dakota Codified Laws §§ 37-1-3.1, et seq.

                (a)     Defendants’ combinations or conspiracies had the following effects: (1)

 Automotive Wire Harness Systems price competition was restrained, suppressed, and eliminated

 throughout South Dakota; (2) Automotive Wire Harness Systems prices were raised, fixed,

 maintained and stabilized at artificially high levels throughout South Dakota; (3) Plaintiffs and

 members of the Damages Class were deprived of free and open competition; and (4) Plaintiffs

 and members of the Damages Class paid supracompetitive, artificially inflated prices for

 Automotive Wire Harness Systems.

                (b)     During the Class Period, Defendants’ illegal conduct had a substantial

 effect on South Dakota commerce.

                (c)     As a direct and proximate result of Defendants’ unlawful conduct,

 Plaintiffs and members of the Damages Class have been injured in their business and property

 and are threatened with further injury.

                (d)     By reason of the foregoing, Defendants have entered into agreements in

 restraint of trade in violation of South Dakota Codified Laws Ann. §§ 37-1, et seq. Accordingly,

 Plaintiffs and members of the Damages Class seek all relief available under South Dakota

 Codified Laws Ann. §§ 37-1, et seq.

        255.    Defendants have entered into an unlawful agreement in restraint of trade in

 violation of the Tennessee Code Annotated §§ 47-25-101, et seq.

                (a)     Defendants’ combinations or conspiracies had the following effects: (1)

 Automotive Wire Harness Systems price competition was restrained, suppressed, and eliminated

 throughout Tennessee; (2) Automotive Wire Harness Systems prices were raised, fixed,




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 maintained and stabilized at artificially high levels throughout Tennessee; (3) Plaintiffs and

 members of the Damages Class were deprived of free and open competition; and (4) Plaintiffs

 and members of the Damages Class paid supracompetitive, artificially inflated prices for

 Automotive Wire Harness Systems.

                (b)     During the Class Period, Defendants’ illegal conduct had a substantial

 effect on Tennessee commerce.

                (c)     As a direct and proximate result of Defendants’ unlawful conduct,

 Plaintiffs and members of the Damages Class have been injured in their business and property

 and are threatened with further injury.

                (d)     By reason of the foregoing, Defendants have entered into agreements in

 restraint of trade in violation of Tennessee Code Ann. §§ 47-25-101, et seq. Accordingly,

 Plaintiffs and members of the Damages Class seek all relief available under Tennessee Code

 Ann. §§ 47-25-101, et seq.

        256.    Defendants have entered into an unlawful agreement in restraint of trade in

 violation of the Utah Code Annotated §§ 76-10-911, et seq.

                (a)     Defendants’ combinations or conspiracies had the following effects: (1)

 Automotive Wire Harness Systems price competition was restrained, suppressed, and eliminated

 throughout Utah; (2) Automotive Wire Harness Systems prices were raised, fixed, maintained

 and stabilized at artificially high levels throughout Utah; (3) Plaintiffs and members of the

 Damages Class were deprived of free and open competition; and (4) Plaintiffs and members of

 the Damages Class paid supracompetitive, artificially inflated prices for Automotive Wire

 Harness Systems.




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                (b)     During the Class Period, defendants’ illegal conduct had a substantial

 effect on Utah commerce.

                (c)     As a direct and proximate result of Defendants’ unlawful conduct,

 Plaintiffs and members of the Damages Class have been injured in their business and property

 and are threatened with further injury.

                (d)     By reason of the foregoing, Defendants have entered into agreements in

 restraint of trade in violation of Utah Code Annotated §§ 76-10-911, et seq. Accordingly,

 Plaintiffs and members of the Damages Class seek all relief available under Utah Code

 Annotated §§ 76-10-911, et seq.

        257.    Defendants have entered into an unlawful agreement in restraint of trade in

 violation of the Vermont Stat. Ann. 9 §§ 2453, et seq.

                (a)     Defendants’ combinations or conspiracies had the following effects: (1)

 Automotive Wire Harness Systems price competition was restrained, suppressed, and eliminated

 throughout Vermont; (2) Automotive Wire Harness Systems prices were raised, fixed,

 maintained and stabilized at artificially high levels throughout Vermont; (3) Plaintiffs and

 members of the Damages Class were deprived of free and open competition; and (4) Plaintiffs

 and members of the Damages Class paid supracompetitive, artificially inflated prices for

 Automotive Wire Harness Systems.

                (b)     During the Class Period, Defendants’ illegal conduct had a substantial

 effect on Vermont commerce.

                (c)     As a direct and proximate result of Defendants’ unlawful conduct,

 Plaintiffs and members of the Damages Class have been injured in their business and property

 and are threatened with further injury.




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                  (d)    By reason of the foregoing, Defendants have entered into agreements in

 restraint of trade in violation of Vermont Stat. Ann. 9 §§ 2453, et seq. Accordingly, Plaintiffs

 and members of the Damages Class seek all relief available under Vermont Stat. Ann. 9 §§ 2453,

 et seq.

           258.   Defendants have entered into an unlawful agreement in restraint of trade in

 violation of the West Virginia Code §§ 47-18-1, et seq.

                  (a)    Defendants’ combinations or conspiracies had the following effects: (1)

 Automotive Wire Harness Systems price competition was restrained, suppressed, and eliminated

 throughout West Virginia; (2) Automotive Wire Harness Systems prices were raised, fixed,

 maintained and stabilized at artificially high levels throughout West Virginia; (3) Plaintiffs and

 members of the Damages Class were deprived of free and open competition; and (4) Plaintiffs

 and members of the Damages Class paid supracompetitive, artificially inflated prices for

 Automotive Wire Harness Systems.

                  (b)    During the Class Period, Defendants’ illegal conduct had a substantial

 effect on West Virginia commerce.

                  (c)    As a direct and proximate result of Defendants’ unlawful conduct,

 Plaintiffs and members of the Damages Class have been injured in their business and property

 and are threatened with further injury.

                  (d)    By reason of the foregoing, Defendants have entered into agreements in

 restraint of trade in violation of West Virginia §§ 47-18-1, et seq. Accordingly, Plaintiffs and

 members of the Damages Class seek all relief available under West Virginia §§ 47-18-1, et seq.

           259.   Defendants have entered into an unlawful agreement in restraint of trade in

 violation of the Wisconsin Statutes §§ 133.01, et seq.




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                (a)     Defendants’ combinations or conspiracies had the following effects: (1)

 Automotive Wire Harness Systems price competition was restrained, suppressed, and eliminated

 throughout Wisconsin; (2) Automotive Wire Harness Systems prices were raised, fixed,

 maintained and stabilized at artificially high levels throughout Wisconsin; (3) Plaintiffs and

 members of the Damages Class were deprived of free and open competition; and (4) Plaintiffs

 and members of the Damages Class paid supracompetitive, artificially inflated prices for

 Automotive Wire Harness Systems.

                (b)     During the Class Period, Defendants’ illegal conduct had a substantial

 effect on Wisconsin commerce.

                (c)     As a direct and proximate result of Defendants’ unlawful conduct,

 Plaintiffs and members of the Damages Class have been injured in their business and property

 and are threatened with further injury.

                (d)     By reason of the foregoing, Defendants have entered into agreements in

 restraint of trade in violation of Wisconsin Stat. §§ 133.01, et seq. Accordingly, Plaintiffs and

 members of the Damages Class seek all relief available under Wisconsin Stat. §§ 133.01, et seq.

        260.    Plaintiffs and members of the Damages Class in each of the above states have

 been injured in their business and property by reason of Defendants’ unlawful combination,

 contract, conspiracy and agreement. Plaintiffs and members of the Damages Class have paid

 more for Automotive Wire Harness Systems than they otherwise would have paid in the absence

 of Defendants’ unlawful conduct. This injury is of the type the antitrust laws of the above states

 were designed to prevent and flows from that which makes Defendants’ conduct unlawful.




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        261.    In addition, Defendants have profited significantly from the aforesaid conspiracy.

 Defendants’ profits derived from their anticompetitive conduct come at the expense and

 detriment of members of the Plaintiffs and the members of the Damages Class.

        262.    Accordingly, Plaintiffs and the members of the Damages Class in each of the

 above jurisdictions seek damages (including statutory damages where applicable), to be trebled

 or otherwise increased as permitted by a particular jurisdiction’s antitrust law, and costs of suit,

 including reasonable attorneys fees, to the extent permitted by the above state laws.

                                   THIRD CLAIM FOR RELIEF
                            Violation of State Consumer Protection Statutes
                            (on behalf of Plaintiffs and the Damages Class)

        263.    Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

 allegation set forth in the preceding paragraphs of this Complaint.

        264.    Defendants engaged in unfair competition or unfair, unconscionable, deceptive or

 fraudulent acts or practices in violation of the state consumer protection and unfair competition

 statutes listed below.

        265.    Defendants have engaged in unfair competition or unfair, unconscionable,

 deceptive or fraudulent acts or practices in violation of California Business and Professions Code

 § 17200, et seq.

                (a)       During the Class Period, Defendants committed and continue to commit

 acts of unfair competition, as defined by Sections 17200, et seq. of the California Business and

 Professions Code, by engaging in the acts and practices specified above.

                (b)       This claim is instituted pursuant to Sections 17203 and 17204 of the

 California Business and Professions Code, to obtain restitution from these defendants for acts, as




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 alleged herein, that violated Section 17200 of the California Business and Professions Code,

 commonly known as the Unfair Competition Law.

                (c)     The Defendants’ conduct as alleged herein violated Section 17200. The

 acts, omissions, misrepresentations, practices and non-disclosures of defendants, as alleged

 herein, constituted a common, continuous, and continuing course of conduct of unfair

 competition by means of unfair, unlawful, and/or fraudulent business acts or practices within the

 meaning of California Business and Professions Code, Section 17200, et seq., including, but not

 limited to, the following: (1) the violations of Section 1 of the Sherman Act, as set forth above;

 (2) the violations of Section 16720, et seq., of the California Business and Professions Code, set

 forth above;

                (d)     Defendants’ acts, omissions, misrepresentations, practices, an non-

 disclosures, as described above, whether or not in violation of Section 16720, et seq., of the

 California Business and Professions Code, and whether or not concerted or independent acts, are

 otherwise unfair, unconscionable, unlawful or fraudulent;

                (e)     Defendants’ acts or practices are unfair to consumers of Automotive Wire

 Harness Systems (or vehicles containing them) in the State of California within the meaning of

 Section 17200, California Business and Professions Code; and

                (f)     Defendants’ acts and practices are fraudulent or deceptive within the

 meaning of Section 17200 of the California Business and professions Code.

                (g)     Plaintiffs and members of the Damages Class are entitled to full restitution

 and/or disgorgement of all revenues, earnings, profits, compensation, and benefits that may have

 been obtained by defendants as a result of such business acts or practices.




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                 (h)     The illegal conduct alleged herein is continuing and there is no indication

 that defendants will not continue such activity into the future.

                 (i)     The unlawful and unfair business practices of Defendants, and each of

 them, as described above, have caused and continue to cause Plaintiffs and the members of the

 Damages Class to pay supracompetitive and artificially-inflated prices for Automotive Wire

 Harness Systems (or vehicles containing them). Plaintiffs and the members of the Damages

 Class suffered injury in fact and lost money or property as a result of such unfair competition.

                 (j)     The conduct of defendants as alleged in this Complaint violates Section

 17200 of the California Business and Professions Code.

                 (k)     As alleged in this Complaint, Defendants and their co-conspirators have

 been unjustly enriched as a result of their wrongful conduct and by defendants’ unfair

 competition. Plaintiffs and the members of the Damages Class are accordingly entitled to

 equitable relief including restitution and/or disgorgement of all revenues, earnings, profits,

 compensation, and benefits that may have been obtained by defendants as a result of such

 business practices, pursuant to the California Business and Professions Code, Sections 17203 and

 17204.

          266.   Defendants have engaged in unfair competition or unfair, unconscionable, or

 deceptive acts or practices in violation of District of Columbia Code § 28-3901, et seq.

                 (a)     Defendants agreed to, and did in fact, act in restraint of trade or commerce

 by affecting, fixing, controlling and/or maintaining, at artificial and/or non-competitive levels,

 the prices at which Automotive Wire Harness Systems was sold, distributed or obtained in the

 District of Columbia.




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                (b)     The foregoing conduct constitutes “unlawful trade practices,” within the

 meaning of D.C. Code § 28-3904.

                (c)     Defendants’ unlawful conduct had the following effects: (1) Automotive

 Wire Harness Systems price competition was restrained, suppressed, and eliminated throughout

 the District of Columbia; (2) Automotive Wire Harness Systems prices were raised, fixed,

 maintained, and stabilized at artificially high levels throughout the District of Columbia; (3)

 Plaintiffs and the Damages Class were deprived of free and open competition; and (4) Plaintiffs

 and the Damages Class paid supra-competitive, artificially inflated prices for Automotive Wire

 Harness Systems.

                (d)     As a direct and proximate result of the Defendants’ conduct, Plaintiffs and

 members of the Damages Class have been injured and are threatened with further injury.

 Defendants have engaged in unfair competition or unfair or deceptive acts or practices in

 violation of District of Columbia Code § 28-3901, et seq. , and, accordingly, Plaintiffs and

 members of the Damages Class seek all relief available under that statute.

        267.    Defendants have engaged in unfair competition or unfair, unconscionable, or

 deceptive acts or practices in violation of the Florida Deceptive and Unfair Trade Practices Act,

 Fla. Stat. §§ 501.201, et seq.

                (a)     Defendants’ unlawful conduct had the following effects: (1) Automotive

 Wire Harness Systems price competition was restrained, suppressed, and eliminated throughout

 Florida; (2) Automotive Wire Harness Systems prices were raised, fixed, maintained, and

 stabilized at artificially high levels throughout Florida; (3) Plaintiffs and members of the

 Damages Class were deprived of free and open competition; and (4) Plaintiffs and members of




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 the Damages Class paid supracompetitive, artificially inflated prices for Automotive Wire

 Harness Systems.

                  (b)    During the Class Period, Defendants’ illegal conduct substantially affected

 Florida commerce and consumers.

                  (c)    As a direct and proximate result of defendants’ unlawful conduct,

 Plaintiffs and members of the Damages Class have been injured and are threatened with further

 injury.

                  (d)    Defendants have engaged in unfair competition or unfair or deceptive acts

 or practices in violation of Florida Stat. § 501.201, et seq., and, accordingly, Plaintiffs and

 members of the Damages Class seek all relief available under that statute.

           268.   Defendants have engaged in unfair competition or unfair, unconscionable, or

 deceptive acts or practices in violation of the Hawaii Revised Statutes Annotated §§ 480-1, et

 seq.

                  (a)    Defendants’ unlawful conduct had the following effects: (1) Automotive

 Wire Harness Systems price competition was restrained, suppressed, and eliminated throughout

 Hawaii; (2) Automotive Wire Harness Systems prices were raised, fixed, maintained, and

 stabilized at artificially high levels throughout Hawaii; (3) Plaintiffs and members of the

 Damages Class were deprived of free and open competition; and (4) Plaintiffs and members of

 the Damages Class paid supracompetitive, artificially inflated prices for Automotive Wire

 Harness Systems.

                  (b)    During the Class Period, Defendants’ illegal conduct substantially affected

 Hawaii commerce and consumers.




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                  (c)    As a direct and proximate result of Defendants’ unlawful conduct,

 Plaintiffs and members of the Damages Class have been injured and are threatened with further

 injury.

                  (d)    Defendants have engaged in unfair competition or unfair or deceptive acts

 or practices in violation of Hawaii Rev. Stat. § 480, et seq., and, accordingly, Plaintiffs and

 members of the Damages Class seek all relief available under that statute.

           269.   Defendants have engaged in unfair competition or unfair, unconscionable, or

 deceptive acts or practices in violation of Mass. G.L. c. 93A, §2.

                  (a)    Defendants were engaged in trade or commerce as defined by G.L. c. 93A.

                  (b)    Defendants agreed to, and did in fact, act in restraint of trade or commerce

 in a market which includes Massachusetts, by affecting, fixing, controlling and/or maintaining at

 artificial and non-competitive levels, the prices at which Automotive Wire Harness Systems

 were sold, distributed, or obtained in Massachusetts and took efforts to conceal their agreements

 from Plaintiffs and members of the Damages Class.

                  (c)    Defendants’ unlawful conduct had the following effects: (1) Automotive

 Wire Harness Systems price competition was restrained, suppressed, and eliminated throughout

 Massachusetts; (2) Automotive Wire Harness Systems prices were raised, fixed, maintained, and

 stabilized at artificially high levels throughout Massachusetts; (3) Plaintiffs and members of the

 Damages Class were deprived of free and open competition; and (4) Plaintiffs and members of

 the Damages Class paid supra-competitive, artificially inflated prices for Automotive Wire

 Harness Systems.

                  (d)    As a direct and proximate result of defendants’ unlawful conduct,

 Plaintiffs and members of the Damages Class were injured and are threatened with further injury.




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                 (e)     Certain of the Defendants have been served with a demand letter in

 accordance with G.L. c. 93A, § 9, or, upon information and belief, such service of a demand

 letter was unnecessary due to the defendant not maintaining a place of business within the

 Commonwealth of Massachusetts or not keeping assets within the Commonwealth. More than

 thirty days has passed since such demand letters were served, and each Defendant served has

 failed to make a reasonable settlement offer.

                 (f)     By reason of the foregoing, Defendants engaged in unfair competition and

 unfair or deceptive acts or practices, in violation of G.L. c. 93A, §2. Defendants’ and their co-

 conspirators’ violations of Chapter 93A were knowing or willful, entitling Plaintiffs and

 members of the Damages Class to multiple damages.

         270.    Defendants have engaged in unfair competition or unfair, unconscionable, or

 deceptive acts or practices in violation of the Missouri Merchandising Practices Act, Mo. Rev.

 Stat. § 407.010, et. seq.

                 (a)     Missouri Plaintiff and members of this Damages Class purchased

 Automotive Wire Harness Systems for personal, family, or household purposes.

                 (b)     Defendants engaged in the conduct described herein in connection with

 the sale of Automotive Wire Harness Systems in trade or commerce in a market that includes

 Missouri.

                 (c)     Defendants agreed to, and did in fact affect, fix, control, and/or maintain,

 at artificial and non-competitive levels, the prices at which Automotive Wire Harness Systems

 were sold, distributed, or obtained in Missouri, which conduct constituted unfair practices in that

 it was unlawful under federal and state law, violated public policy, was unethical, oppressive and

 unscrupulous, and caused substantial injury to Plaintiffs and members of the Damages Class.




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                (d)     Defendants concealed, suppressed, and omitted to disclose material facts

 to Plaintiffs and members of the Damages Class concerning defendants’ unlawful activities and

 artificially inflated prices for Automotive Wire Harness Systems. The concealed, suppressed,

 and omitted facts would have been important to Plaintiffs and members of the Damages Class as

 they related to the cost of Automotive Wire Harness Systems they purchased.

                (e)     Defendants misrepresented the real cause of price increases and/or the

 absence of price reductions in Automotive Wire Harness Systems by making public statements

 that were not in accord with the facts.

                (f)     Defendants’ statements and conduct concerning the price of Automotive

 Wire Harness Systems were deceptive as they had the tendency or capacity to mislead Plaintiffs

 and members of the Damages Class to believe that they were purchasing Automotive Wire

 Harness Systems at prices established by a free and fair market.

                (g)     Defendants’ unlawful conduct had the following effects: (1) Automotive

 Wire Harness Systems price competition was restrained, suppressed, and eliminated throughout

 Missouri; (2) Automotive Wire Harness Systems prices were raised, fixed, maintained, and

 stabilized at artificially high levels throughout Missouri; (3) Plaintiffs and members of the

 Damages Class were deprived of free and open competition; and (4) Plaintiffs and members of

 the Damages Class paid supra-competitive, artificially inflated prices for Automotive Wire

 Harness Systems.

                (h)     The foregoing acts and practices constituted unlawful practices in

 violation of the Missouri Merchandising Practices Act.




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                (i)    As a direct and proximate result of the above-described unlawful

 practices, Plaintiffs and members of the Damages Class suffered ascertainable loss of money or

 property.

                (j)    Accordingly, Plaintiffs and members of the Damages Class seek all relief

 available under Missouri’s Merchandising Practices Act, specifically Mo. Rev. Stat. § 407.020,

 which prohibits “the act, use or employment by any person of any deception, fraud, false

 pretense, false promise, misrepresentation, unfair practice or the concealment, suppression, or

 omission of any material fact in connection with the sale or advertisement of any merchandise in

 trade or commerce…,” as further interpreted by the Missouri Code of State Regulations, 15 CSR

 60-7.010, et seq., 15 CSR 60-8.010, et seq., and 15 CSR 60-9.010, et seq., and Mo. Rev. Stat. §

 407.025, which provides for the relief sought in this count.

        271.    Defendants have engaged in unfair competition or unfair, unconscionable, or

 deceptive acts or practices in violation of the Montana Unfair Trade Practices and Consumer

 Protection Act of 1970, Mont. Code, §§ 30-14-103, et seq., and §§ 30-14-201, et. seq.

                (a)    Defendants’ unlawful conduct had the following effects: (1) Automotive

 Wire Harness Systems price competition was restrained, suppressed, and eliminated throughout

 Montana; (2) Automotive Wire Harness Systems prices were raised, fixed, maintained, and

 stabilized at artificially high levels throughout Montana; (3) Plaintiffs and members of the

 Damages Class were deprived of free and open competition; and (4) Plaintiffs and members of

 the Damages Class paid supracompetitive, artificially inflated prices for Automotive Wire

 Harness Systems.

                (b)    During the Class Period, defendants’ illegal conduct substantially affected

 Montana commerce and consumers.




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                   (c)    As a direct and proximate result of defendants’ unlawful conduct,

 Plaintiffs and members of the Damages Class have been injured and are threatened with further

 injury.

                   (d)    Defendants have engaged in unfair competition or unfair or deceptive acts

 or practices in violation of Mont. Code, §§ 30-14-103, et seq., and §§ 30-14-201, et. seq., and,

 accordingly, Plaintiffs and members of the Damages Class seek all relief available under that

 statute.

            272.   Defendants have engaged in unfair competition or unfair, unconscionable, or

 deceptive acts or practices in violation of the New Mexico Stat. § 57-12-1, et seq.

                   (a)    Defendants agreed to, and did in fact, act in restraint of trade or commerce

 by affecting, fixing, controlling and/or maintaining at non-competitive and artificially inflated

 levels, the prices at which Automotive Wire Harness Systems was sold, distributed or obtained in

 New Mexico and took efforts to conceal their agreements from Plaintiffs and members of the

 Damages Class.

                   (b)    The aforementioned conduct on the part of the Defendants constituted

 “unconscionable trade practices,” in violation of N.M.S.A. Stat. § 57-12-3, in that such conduct,

 inter alia, resulted in a gross disparity between the value received by Plaintiffs and the members

 of the Damages Class and the prices paid by them for Automotive Wire Harness Systems as set

 forth in N.M.S.A., § 57-12-2E.

                   (c)    Defendants’ unlawful conduct had the following effects: (1) Automotive

 Wire Harness Systems price competition was restrained, suppressed, and eliminated throughout

 New Mexico; (2) Automotive Wire Harness Systems prices were raised, fixed, maintained, and

 stabilized at artificially high levels throughout New Mexico; (3) Plaintiffs and the members of




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 the Damages Class were deprived of free and open competition; and (4) Plaintiffs and the

 members of the Damages Class paid supra-competitive, artificially inflated prices for

 Automotive Wire Harness Systems.

                 (d)    During the Class Period, Defendants’ illegal conduct substantially affected

 New Mexico commerce and consumers.

                 (e)    As a direct and proximate result of the unlawful conduct of the

 Defendants, Plaintiffs and the members of the Damages Class have been injured and are

 threatened with further injury.

                 (f)    Defendants have engaged in unfair competition or unfair or deceptive acts

 or practices in violation of New Mexico Stat. § 57-12-1, et seq., and, accordingly, Plaintiffs and

 the members of the Damages Class seek all relief available under that statute.

          273.   Defendants have engaged in unfair competition or unfair, unconscionable, or

 deceptive acts or practices in violation of N.Y. Gen. Bus. Law § 349, et seq.

                 (a)    Defendants agree to, and did in fact, act in restraint of trade or commerce

 by affecting, fixing, controlling and/or maintaining, at artificial and non-competitive levels, the

 prices at which Automotive Wire Harness Systems were sold, distributed or obtained in New

 York and took efforts to conceal their agreements from Plaintiffs and members of the Damages

 Class.

                 (b)    The conduct of the defendants described herein constitutes consumer-

 oriented deceptive acts or practices within the meaning of N.Y. Gen. Bus. Law § 349, which

 resulted in consumer injury and broad adverse impact on the public at large, and harmed the

 public interest of New York State in an honest marketplace in which economic activity is

 conducted in a competitive manner.




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                (c)     Defendants’ unlawful conduct had the following effects: (1) Automotive

 Wire Harness Systems price competition was restrained, suppressed, and eliminated throughout

 New York; (2) Automotive Wire Harness Systems prices were raised, fixed, maintained, and

 stabilized at artificially high levels throughout New York; (3) Plaintiffs and members of the

 Damages Class were deprived of free and open competition; and (4) Plaintiffs and members of

 the Damages Class paid supra-competitive, artificially inflated prices for Automotive Wire

 Harness Systems.

                (d)     During the Class Period, Defendants’ illegal conduct substantially affected

 New York commerce and consumers.

                (e)     During the Class Period, each of the Defendants named herein, directly, or

 indirectly and through affiliates they dominated and controlled, manufactured, sold and/or

 distributed Automotive Wire Harness Systems in New York.

                (f)     Plaintiffs and members of the Damages Class seek all relief available

 pursuant to N.Y. Gen. Bus. Law § 349 (h).

        274.    Defendants have engaged in unfair competition or unfair, unconscionable, or

 deceptive acts or practices in violation of North Carolina Gen. Stat. § 75-1.1, et seq.

                (a)     Defendants agree to, and did in fact, act in restraint of trade or commerce

 by affecting, fixing, controlling and/or maintaining, at artificial and non-competitive levels, the

 prices at which Automotive Wire Harness Systems was sold, distributed or obtained in North

 Carolina and took efforts to conceal their agreements from Plaintiffs and members of the

 Damages Class.

                (b)     The conduct of the defendants described herein constitutes consumer-

 oriented deceptive acts or practices within the meaning of North Carolina law, which resulted in




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 consumer injury and broad adverse impact on the public at large, and harmed the public interest

 of North Carolina consumers in an honest marketplace in which economic activity is conducted

 in a competitive manner.

                (c)     Defendants’ unlawful conduct had the following effects: (1) Automotive

 Wire Harness Systems price competition was restrained, suppressed, and eliminated throughout

 North Carolina; (2) Automotive Wire Harness Systems prices were raised, fixed, maintained, and

 stabilized at artificially high levels throughout North Carolina; (3) Plaintiffs and members of the

 Damages Class were deprived of free and open competition; and (4) Plaintiffs and members of

 the Damages Class paid supra-competitive, artificially inflated prices for Automotive Wire

 Harness Systems.

                (d)     During the Class Period, defendants’ illegal conduct substantially affected

 North Carolina commerce and consumers.

                (e)     During the Class Period, each of the Defendants named herein, directly, or

 indirectly and through affiliates they dominated and controlled, manufactured, sold and/or

 distributed Automotive Wire Harness Systems in North Carolina.

                (f)     Plaintiffs and members of the Damages Class seek actual damages for

 their injuries caused by these violations in an amount to be determined at trial and are threatened

 with further injury. Defendants have engaged in unfair competition or unfair or deceptive acts or

 practices in violation of North Carolina Gen. Stat. § 75-1.1, et seq., and, accordingly, Plaintiffs

 and members of the Damages Class seek all relief available under that statute.

        275.    Defendants have engaged in unfair competition or unfair, unconscionable, or

 deceptive acts or practices in violation of the Rhode Island Unfair Trade Practice and Consumer

 Protection Act, R.I. Gen. Laws §§ 6-13.1-1, et seq.




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                (a)      Members of this Damages Class purchased Automotive Wire Harness

 Systems for personal, family, or household purposes.

                (b)      Defendants agreed to, and did in fact, act in restraint of trade or commerce

 in a market that includes Rhode Island, by affecting, fixing, controlling, and/or maintaining, at

 artificial and non-competitive levels, the prices at which Automotive Wire Harness Systems

 were sold, distributed, or obtained in Rhode Island.

                (c)      Defendants deliberately failed to disclose material facts to Plaintiffs and

 members of the Damages Class concerning Defendants’ unlawful activities and artificially

 inflated prices for Automotive Wire Harness Systems. Defendants owed a duty to disclose such

 facts, and considering the relative lack of sophistication of the average, non-business consumer,

 Defendants breached that duty by their silence. Defendants misrepresented to all consumers

 during the Class Period that defendants’ Automotive Wire Harness Systems prices were

 competitive and fair.

                (d)      Defendants’ unlawful conduct had the following effects: (1) Automotive

 Wire Harness Systems price competition was restrained, suppressed, and eliminated throughout

 Rhode Island; (2) Automotive Wire Harness Systems prices were raised, fixed, maintained, and

 stabilized at artificially high levels throughout Rhode Island; (3) Plaintiffs and members of the

 Damages Class were deprived of free and open competition; and (4) Plaintiffs and members of

 the Damages Class paid supra-competitive, artificially inflated prices for Automotive Wire

 Harness Systems.

                (e)      As a direct and proximate result of the Defendants’ violations of law,

 Plaintiffs and members of the Damages Class suffered an ascertainable loss of money or property

 as a result of defendants’ use or employment of unconscionable and deceptive commercial




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 practices as set forth above. That loss was caused by defendants’ willful and deceptive conduct,

 as described herein.

                (f)     Defendants’ deception, including its affirmative misrepresentations and

 omissions concerning the price of Automotive Wire Harness Systems, likely misled all

 consumers acting reasonably under the circumstances to believe that they were purchasing

 Automotive Wire Harness Systems at prices born by a free and fair market. Defendants’

 affirmative misrepresentations and omissions constitute information important to Plaintiffs and

 members of the Damages Class as they related to the cost of Automotive Wire Harness Systems

 they purchased.

                (g)     Defendants have engaged in unfair competition or unfair or deceptive acts

 or practices in violation of Rhode Island Gen. Laws. § 6-13.1-1, et seq., and, accordingly,

 Plaintiffs and members of the Damages Class seek all relief available under that statute.

        276.    Defendants have engaged in unfair competition or unfair, unconscionable, or

 deceptive acts or practices in violation of 9 Vermont § 2451, et seq.

                (a)     Defendants agreed to, and did in fact, act in restraint of trade or commerce

 in a market that includes Vermont, by affecting, fixing, controlling, and/or maintaining, at

 artificial and non-competitive levels, the prices at which Automotive Wire Harness Systems

 were sold, distributed, or obtained in Vermont.

                (b)     Defendants deliberately failed to disclose material facts to Plaintiffs and

 members of the Damages Class concerning Defendants’ unlawful activities and artificially

 inflated prices for Automotive Wire Harness Systems. Defendants owed a duty to disclose such

 facts, and considering the relative lack of sophistication of the average, non-business consumer,

 defendants breached that duty by their silence. Defendants misrepresented to all consumers




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 during the Class Period that defendants’ Automotive Wire Harness Systems prices were

 competitive and fair.

                (c)      Defendants’ unlawful conduct had the following effects: (1) Automotive

 Wire Harness Systems price competition was restrained, suppressed, and eliminated throughout

 Vermont; (2) Automotive Wire Harness Systems prices were raised, fixed, maintained, and

 stabilized at artificially high levels throughout Vermont; (3) Plaintiffs and members of the

 Damages Class were deprived of free and open competition; and (4) Plaintiffs and members of

 the Damages Class paid supra-competitive, artificially inflated prices for Automotive Wire

 Harness Systems.

                (d)      As a direct and proximate result of the Defendants’ violations of law,

 Plaintiffs and members of the Damages Class suffered an ascertainable loss of money or property

 as a result of defendants’ use or employment of unconscionable and deceptive commercial

 practices as set forth above. That loss was caused by defendants’ willful and deceptive conduct,

 as described herein.

                (e)      Defendants’ deception, including its affirmative misrepresentations and

 omissions concerning the price of Automotive Wire Harness Systems, likely misled all

 consumers acting reasonably under the circumstances to believe that they were purchasing

 Automotive Wire Harness Systems at prices born by a free and fair market. Defendants’

 misleading conduct and unconscionable activities constitutes unfair competition or unfair or

 deceptive acts or practices in violation of 9 Vermont § 2451, et seq., and, accordingly, Plaintiffs

 and members of the Damages Class seek all relief available under that statute.




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                               FOURTH CLAIM FOR RELIEF
                                       Unjust Enrichment
                         (on behalf of Plaintiffs and the Damages Class)

        277.    Plaintiffs incorporate by reference the allegations in the preceding paragraphs.

        278.    As a result of their unlawful conduct described above, Defendants have and will

 continue to be unjustly enriched. Defendants have been unjustly enriched by the receipt of, at a

 minimum, unlawfully inflated prices and unlawful profits on sales of Automotive Wire Harness

 Systems.

        279.    Defendants have benefited from their unlawful acts and it would be inequitable

 for Defendants to be permitted to retain any of the ill-gotten gains resulting from the

 overpayments made by Plaintiffs of the members of the Damages Class for Automotive Wire

 Harness Systems.

        280.    Plaintiffs and the members of the Damages Class are entitled to the amount of

 Defendants’ ill-gotten gains resulting from their unlawful, unjust, and inequitable conduct.

 Plaintiffs and the members of the Damages Class are entitled to the establishment of a

 constructive trust consisting of all ill-gotten gains from which Plaintiffs and the members of the

 Damages Class may make claims on a pro rata basis.


                                     PRAYER FOR RELIEF

        Accordingly, Plaintiffs respectfully request that:

        A.      The Court determine that this action may be maintained as a class action under

 Rule 23(a), (b)(2) and (b)(3) of the Federal Rules of Civil Procedure, and direct that reasonable

 notice of this action, as provided by Rule 23(c)(2) of the Federal Rules of Civil Procedure, be

 given to each and every member of the Classes;




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        B.      That the unlawful conduct, contract, conspiracy, or combination alleged herein be

 adjudged and decreed:

                (a)      An unreasonable restraint of trade or commerce in violation of Section 1

 of the Sherman Act;

                (b)      A per se violation of Section 1 of the Sherman Act;

                (c)      An unlawful combination, trust, agreement, understanding and/or concert

 of action in violation of the state antitrust and unfair competition and consumer protection laws

 as set forth herein; and

                (d)      Acts of unjust enrichment by Defendants as set forth herein.

        C.      Plaintiffs and the members of the Damages Class recover damages, to the

 maximum extent allowed under such laws, and that a joint and several judgment in favor of

 Plaintiffs and the members of the Damages Class be entered against Defendants in an amount to

 be trebled to the extent such laws permit;

        D.      Plaintiffs and the members of the Damages Class recover damages, to the

 maximum extent allowed by such laws, in the form of restitution and/or disgorgement of profits

 unlawfully gained from them;

        E.      Defendants, their affiliates, successors, transferees, assignees and other officers,

 directors, partners, agents and employees thereof, and all other persons acting or claiming to act

 on their behalf or in concert with them, be permanently enjoined and restrained from in any

 manner continuing, maintaining or renewing the conduct, contract, conspiracy, or combination

 alleged herein, or from entering into any other contract, conspiracy, or combination having a

 similar purpose or effect, and from adopting or following any practice, plan, program, or device

 having a similar purpose or effect;




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        F.      Plaintiffs and the members of the Damages Class be awarded restitution,

 including disgorgement of profits Defendants obtained as a result of their acts of unfair

 competition and acts of unjust enrichment;

        G.      Plaintiffs and the members of the Classes be awarded pre- and post- judgment

 interest as provided by law, and that such interest be awarded at the highest legal rate from and

 after the date of service of this Complaint;

        H.      Plaintiffs and the members of the Classes recover their costs of suit, including

 reasonable attorneys’ fees, as provided by law; and

        I.      Plaintiffs and members of the Classes have such other and further relief as the

 case may require and the Court may deem just and proper.

 DATED: May 14, 2012
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                                         JURY DEMAND

         Plaintiffs demand a trial by jury, pursuant to Rule 38(b) of the Federal Rules of Civil

 Procedure, of all issues so triable.

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